Case1 6:08-cv-00088-LED
                   IN THE Document
                          UNITED STATES DISTRICT
                                   422 Filed     COURT Page 1 of 117 PageID #: 38824
                                             10/20/10
                       FOR THE EASTERN DISTRICT OF TEXAS
    2                           TYLER DIVISION

    3   MIRROR WORLDS, LLC            *       Civil Docket No.
                                          *
    4                                 *       6:08-CV-88
        VS.                           *       Tyler, Texas
    5                                 *
                                      *       September 30, 2010
    6   APPLE, INC., ET AL            *       9:00 A.M.

    7
                        TRANSCRIPT OF JURY TRIAL
    8                        MORNING SESSION
                   BEFORE THE HONORABLE LEONARD DAVIS
    9                 UNITED STATES DISTRICT JUDGE

   10   APPEARANCES:

   11                          FOR THE PLAINTIFF

   12   MR. JOSEPH DIAMANTE
        MR. KENNETH STEIN
   13   MR. IAN G. DIBERNARDO
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   21   MS. JUDY WERLINGER, CSR
        Official Court Reporters
   22   211 West Ferguson, Third Floor
        Tyler, TX    75702
   23   903/590-1171

   24   (Proceedings recorded by mechanical stenography,
        transcript produced on CAT system.)
   25
Case1 6:08-cv-00088-LED Document
                        FOR THE DEFENDANTS
                                 422 Filed 10/20/10 Page 2 of 117 PageID #: 38825
   2

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                                            G S     Page 3 of 117 PageID #: 38826
   2                  COURT SECURITY OFFICER: All rise.

   3                  (Jury in.)

   4                  THE COURT:     Please be seated.

   5                  All right.     Good morning, Ladies and

   6   Gentlemen of the Jury.    Welcome back.

   7                  This is our last day of testimony.         We

   8   should finish, if everything goes according to plan.

   9                  So with that, we will proceed,

  10   Mr. Randall, with your next witness.

  11                  MR. RANDALL:     Your Honor, Apple's next

  12   witness is Mr. Nitin Ganatra.

  13                  THE COURT:     Okay.

  14                  MR. CARROLL:     Your Honor, could we have

  15   our time before we get to cranking this morning?

  16                  THE COURT:     I thought I had given that to

  17   y'all yesterday.

  18                  MR. CARROLL:     I don't know if we --

  19                  THE COURT:     All right.   It's Plaintiff

  20   has used 9 hours and 50 minutes, and Defendant has used

  21   just short of 8 hours -- 7 hours and 56 minutes.

  22                  MR. CARROLL:     50 or 9/15.

  23                  THE COURT:     9/50.

  24                  COURTROOM DEPUTY:      Please raise your

  25   right hand to be sworn.
Case1 6:08-cv-00088-LED(Witness sworn.)
                         Document  422 Filed 10/20/10 Page 4 of 117 PageID #: 38827
   2               NITIN GANATRA, DEFENDANTS' WITNESS, SWORN

   3                           DIRECT EXAMINATION

   4   BY MR. RANDALL:

   5           Q      Can you tell us your name for the record,

   6   please.

   7           A      My name is Nitin Ganatra.

   8           Q      Where do you live?

   9           A      San Jose, California.

  10           Q      And what is your current occupation?

  11           A      I'm the Director of Engineering on the iPhone

  12   operating system at Apple.

  13           Q      Can you provide some of your background,

  14   including when you started at Apple?

  15           A      I started at Apple in January -- in April of

  16   1993.       I -- I initially started in -- in Developer

  17   Technical Support and moved into Engineering two years

  18   later -- Software Engineering two years later.

  19           Q      As the manager of iPhone applications team, do

  20   you have knowledge of the implementation of Coverflow in

  21   iPhone and iPod Touch?

  22           A      Yes, I do.

  23           Q      Do you have knowledge of the implementation of

  24   Coverflow in the iPod Touch, iPod Nano, and iPod

  25   Classic?
Case1 6:08-cv-00088-LED
             A    I do. Document 422 Filed 10/20/10 Page 5 of 117 PageID #: 38828

   2        Q    And I want to ask you some questions.         This --

   3   this -- one of the allegations by Plaintiff is that

   4   Apple has this receding foreshortened stack.

   5             And I want to ask you, are you knowledgeable

   6   about the source code for Coverflow in these products

   7   that we just mentioned?

   8        A    Yes, I am.

   9        Q    So you know how Coverflow works kind of under

  10   the hood, so to speak, in these products?

  11        A    That's correct.

  12        Q    All right.

  13        A    Yes, I do.

  14        Q    Are you aware that Plaintiff has accused

  15   Coverflow in Apple's iPhone, iPod Touch, and other iPods

  16   of infringing its patents?

  17        A    Yes.

  18                     MR. RANDALL:   Can you pull up NG1,

  19   please?

  20        Q    (By Mr. Randall) All right.      What does this

  21   slide reflect, sir?

  22        A    So this slide shows an iPhone tipped on its

  23   side, and in -- in view on the screen is the Coverflow

  24   user interface.

  25             In addition, there are two parallel lines, two
Case1 6:08-cv-00088-LED
        red lines along the top edge
                         Document    of Filed
                                   422  the albums   and Page
                                              10/20/10    another
                                                               6 of 117 PageID #: 38829
    2   line along the bottom edge of the albums.

    3        Q     Do -- the album covers that are displayed here

    4   in Coverflow, do they get shorter as they get closer to

    5   the sides of the view?

    6        A     No, they do not.     And -- and you can see that

    7   by looking on the -- the left side of the screen.       It's

    8   easiest to see where the -- the white tips of the albums

    9   are sticking up over the red line, the same distance

   10   that the tips of the albums that are closer to the

   11   center are sticking up.

   12        Q     Okay.

   13        A     I'm sorry.     That's the left edge.   I think I

   14   said right.

   15        Q     Now, do the album covers that are displayed

   16   here in cover -- Coverflow, do they get further away

   17   from the screen as they get closer to the sides of the

   18   display?

   19        A     No, they do not.

   20        Q     How do you know that?

   21        A     I know that from looking at the source code.

   22        Q     All right.     You've reviewed the source code

   23   and confirmed that?

   24        A     Yes, I have.

   25        Q     Is -- the position of the album cover in
Case1 6:08-cv-00088-LED
        Coverflow, is thatDocument
                           meant to422
                                    indicate  time-order?
                                        Filed 10/20/10 Page 7 of 117 PageID #: 38830
    2        A       No, it does not.

    3                       MR. RANDALL:   Can you pull up DX1017 at

    4   Page 620 and 621?

    5                       Can you go to Page 620 and go down to the

    6   bottom at Line 1529?

    7        Q       (By Mr. Randall) Do you recognize this as

    8   source code, sir --

    9        A       Yes.

   10        Q       -- for those products?

   11        A       Yes, I do.

   12        Q       And I want to direct your attention to

   13   Line 1529.

   14                What does that do?

   15        A       So that is the declaration for a -- a

   16   routine -- for a piece of code that -- that sets the --

   17   it sets the Coverflow view so that you're viewing the

   18   album that is at a particular index.        That's indicated

   19   by the number.

   20                So you'll see the words, set new selected

   21   index, and right after that, you see new index, which is

   22   a number.     And that number indicates which album within

   23   the series of albums should be the one that's in the

   24   center of the display.

   25        Q       All right.    And is this source code among the
Case1 6:08-cv-00088-LED
        source code that you reviewed
                         Document  422toFiled
                                         confirm  the conclusions
                                              10/20/10 Page 8 of 117 PageID #: 38831
    2   that you've reached that you've already testified to?

    3           A      Yes, it is.

    4           Q      All right.

    5                       MR. RANDALL:   Let's go to the next page.

    6                       And, Diane, if you can highlight these

    7   lines of code, 1559, 1563, 1557, and 1590.

    8                       If you could span that slightly so we can

    9   at least have a chance of seeing it, including -- okay.

   10           Q      (By Mr. Randall) So I realize that you

   11   reviewed more code than this, but I'm asking you

   12   specifically with respect to this code, what does this

   13   code show?

   14           A      So what this code shows is the -- you'll

   15   notice that there is a -- a dot Z right after the -- the

   16   word covers.       And then there are the open brackets with

   17   an I.       There's a dot Z there, and then after the equals,

   18   there's a covers, open bracket, a gold Z.        The most

   19   important part of both of those is that -- is that Z is

   20   the -- the axis that's being set in this -- in that

   21   particular line.

   22                  And that Z axis is always set to 0.    That's --

   23   it's always set to -- in 1559, it's always set to 0.

   24   It's -- the same thing happens in Line 1567.         It's

   25   always set to 0.       The Z axis is set.
Case1 6:08-cv-00088-LED
                  And 1563, the -- 422
                         Document  the --  again,
                                        Filed     the Z Page
                                              10/20/10   axis 9isof 117 PageID #: 38832

    2   being set for the selected cover, but there's -- it's a

    3   constant value that's used for -- to assign the covers

    4   to that -- to assign the Z axis to those covers.

    5        Q    Okay.     Now, with respect to the positioning

    6   and sizing of the album covers in Coverflow that you

    7   just testified to, is Coverflow the same for iPhone,

    8   iPod Touch, and other iPods?

    9        A    Yes, it is.

   10        Q    All right.

   11                     MR. RANDALL:   Go back to NG1, please.

   12        Q    (By Mr. Randall) So the code that we looked at

   13   and the code you also looked at previously, in addition

   14   to those specific lines we just went through, what does

   15   that tell you with respect to the positioning of these

   16   album covers?

   17        A    What that -- what that tells me is that the --

   18   the albums are all on the same Z axis.      They're all on

   19   the same plane, and -- but specifically by plane, what I

   20   mean -- the easiest way to think of -- of a plane is to

   21   think of it as a -- as a flat, smooth -- completely

   22   smooth wall.

   23             And it's not necessarily drawn, but it is, for

   24   the purposes of geometry, a -- a flat, smooth wall.        And

   25   by -- by setting those values of those -- of those
Case16:08-cv-00088-LED
        covers all to 0, Document
                         it means that
                                  422 the
                                       Filedalbums themselves
                                             10/20/10  Page 10are
                                                               of 117 PageID #: 38833
    2   all attached to the wall in the same -- in the same

    3   position.    So they're all attached to the same -- in the

    4   same way to this flat wall.

    5               And because of that, what that means is that

    6   the albums do not recede into the distance as you move

    7   away from the center.       They're always on the same --

    8   they're always on the same axis.        They're on that same

    9   plane, that same wall, and so, therefore, they don't

   10   recede.

   11        Q      Okay.     And do -- the iPhone, iPod Touch, and

   12   other iPods, do they utilize a cursor or pointer?

   13        A      No, they do not.

   14        Q      Do they show a glance view as required --

   15                       MR. RANDALL:   Strike that.

   16        Q      (By Mr. Randall) Do they show a glance view?

   17        A      No, it does not.

   18        Q      And how does the user interact with the

   19   devices, then, if they don't use a cursor or pointer

   20   that moves around?

   21        A      So instead of using a cursor or pointer or

   22   something like that, it's -- you use direct

   23   manipulation.       You use your finger, and you're actually

   24   touching the screen.

   25               So where a cursor or a pointer is -- is -- is
Case16:08-cv-00088-LED
        something that --Document
                          that represents the10/20/10
                                  422 Filed    mouse that --11
                                                       Page  that
                                                               of 117 PageID #: 38834
    2   normally sets alongside of a computer, and the cursor

    3   is -- is the little arrow that moves around.

    4              There's no such thing on the iPhone.      It's

    5   just -- you just use your finger.       It's a very direct

    6   form of -- of changing your view.

    7        Q     Okay.

    8                      MR. RANDALL:   Can you play Clip 51A,

    9   please?   It's DX51A.

   10                      (Video clip playing.)

   11                      (Video stopped.)

   12        Q     (By Mr. Randall) All right.      And what does the

   13   video we just saw, DX51A, demonstrate?

   14        A     So what that showed was an iPhone, again

   15   tipped on its side, which brought up the Coverflow view.

   16              And in order to change what album you were

   17   viewing on that -- on that -- that shelf of albums, you

   18   use your finger to directly change what -- what albums

   19   are -- what album is actually in the center.

   20              And you could see that by swiping your finger

   21   in either direction, the albums swipe back and forth to

   22   follow your finger.

   23        Q     Now, does the -- do -- any of those products

   24   that we just mentioned, do they ever display a glance

   25   view when the Coverflow changes?
Case16:08-cv-00088-LED
             A    No, they do not. 422 Filed 10/20/10 Page 12 of 117 PageID #: 38835
                         Document
    2        Q    Before this case, Mr. Ganatra, were you ever

    3   aware of a product called Scopeware or Lifestreams?

    4        A    No, I was not.

    5        Q    Before this case, were you aware of

    6   Dr. Gelernter?

    7        A    No, I was not.

    8        Q    Before this case, were you aware of Mirror

    9   Worlds Technologies?

   10        A    No.

   11        Q    Before this case, were you aware of any of

   12   Mirror Worlds' patents?

   13        A    No, I was not.

   14                    MR. RANDALL:     No further questions, Your

   15   Honor.

   16                    THE COURT:     All right.   Cross-exam.

   17                        CROSS-EXAMINATION

   18   BY MR. STEIN:

   19        Q    Good morning, Mr. Ganatra.

   20        A    Good morning.

   21        Q    The term, receding foreshortened stack, isn't

   22   a technical term in computers, is it?

   23        A    Not to my knowledge.

   24        Q    It's a visual effect, correct?

   25        A    It's -- it's hard for me to say.        I mean,
Case16:08-cv-00088-LED
        it's -- it soundsDocument
                          like it's422
                                    a description  of --
                                       Filed 10/20/10    of 13
                                                       Page -- of
                                                               of117 PageID #: 38836

    2   some items.

    3        Q     It's a description of something being

    4   displayed, right?

    5        A     Yes.

    6        Q     And the jury here can assess that effect by

    7   looking at the image being displayed, right?

    8        A     Yes.

    9        Q     There are -- there's -- there's software on

   10   the iPhone that doesn't cause images to be displayed,

   11   correct?

   12        A     I'm -- I'm sorry.    Can --

   13        Q     There's other software on the -- on the iPhone

   14   that doesn't cause an image to be displayed, correct?

   15        A     There is -- I -- I apologize.   You're saying

   16   there is other software --

   17        Q     Let me restate it.

   18        A     Sorry.

   19        Q     There's some software that causes that image

   20   to be displayed, right?

   21        A     There is other software that causes the --

   22        Q     Let's start again.    Sorry.

   23              You pointed to some software that displayed

   24   the -- that was displaying the image of Coverflow on the

   25   iPhone, right?
Case16:08-cv-00088-LED
             A    Yes. Document 422 Filed 10/20/10 Page 14 of 117 PageID #: 38837
    2           Q   And that -- that software causes an image to

    3   be displayed, right?

    4           A   Sure.     Yes.

    5           Q   And there's other software on the iPhone that

    6   performs other functions on the iPhone, which would not

    7   cause an image to be displayed, right?

    8           A   Yes.     There is lot -- there is quite a bit of

    9   software that runs on the iPhone, yes.

   10           Q   And in order to understand really what that

   11   software is doing, you need to look at -- to understand

   12   the functionality of that software, you need to look at

   13   the source code, correct?

   14           A   Yes.

   15           Q   But here we're looking at a visual effect,

   16   which you can determine by looking at the display on the

   17   screen, right?

   18           A   That's correct.     We also did look at source

   19   code.

   20           Q   Right.

   21               Again, in this particular instance, the jury

   22   can assess for itself whether the image on the screen is

   23   a receding foreshortened stack without looking at that

   24   source code, right?

   25           A   I -- I believe they can.
Case16:08-cv-00088-LED
             Q    And in Document
                         that display
                                  422 that
                                       Filedyou -- thatPage
                                             10/20/10   we just
                                                            15 of 117 PageID #: 38838
    2   saw, the center -- the image in the center is larger

    3   than the images to the sides of the center, correct?

    4          A       The -- the one image that is in the center

    5   is -- is larger than all the other images, but the other

    6   images are all the same size.

    7          Q       All right.     And as you move out from the

    8   center to the side, the angle of the top edge is

    9   decreasing, correct?

   10          A       The angle of the top edge?

   11          Q       Of each -- of each image in the stack is

   12   becoming shallower, correct?

   13          A       It would be hard for me to say.     We would have

   14   to go look at the source code to -- to confirm that.

   15          Q       But if you can see it with your eyes, then the

   16   answer would be -- if the jury looks at it and sees it

   17   with their own eyes --

   18          A       Uh-huh.

   19          Q       -- then they can trust their eyes.     If it's

   20   getting shallower, then they don't need to look at the

   21   source code to figure out that it's getting shallower,

   22   right?

   23          A       That's true.     That's true.

   24          Q       Now, you used the term glance view a moment

   25   ago.       Glance view is a term that's in the claims of the
Case16:08-cv-00088-LED
        patent -- of Dr. Document
                         Gelernter's
                                  422patents  which arePage
                                       Filed 10/20/10   at issue
                                                            16 of 117 PageID #: 38839
    2   here.

    3               Are you aware of that?

    4           A   I am, yes.

    5           Q   Have you studied those patents?

    6           A   No, I haven't studied them.        No.

    7           Q   Do you know what the Court's -- the Court in

    8   this case had construed those terms.

    9               Do you know what the Court's construction of

   10   the term glance view is?

   11           A   I -- I believe that the -- the -- not -- not

   12   exactly.    I mean, I could -- I could guess, but probably

   13   not exactly.

   14           Q   Thank you.

   15                    THE COURT:     Redirect?

   16                    MR. RANDALL:     No questions.

   17                    THE COURT:     All right.     You may step

   18   down.

   19                    All right.     Who will be your next

   20   witness?

   21                    MR. PLATT:     Apple calls John Hornkvist.

   22                    THE COURT:     John who?

   23                    MR. SOOBERT:     Hornkvist,

   24   H-O-R-N-K-V-I-S-T.

   25                    COURTROOM DEPUTY:     Please raise your
Case16:08-cv-00088-LED
        right hand and beDocument
                          sworn. 422 Filed 10/20/10 Page 17 of 117 PageID #: 38840

    2                     (Witness sworn.)

    3      JOHN MARTIN HORNKVIST, DEFENDANTS' WITNESS, SWORN

    4                         DIRECT EXAMINATION

    5   BY MR. SOOBERT:

    6        Q    Good morning, Mr. Hornkvist.

    7        A    Good morning.

    8        Q    Could you state your name for the record,

    9   please.

   10        A    John Martin Hornkvist.

   11        Q    And where are you from?

   12        A    I'm from Gothenburg, Sweden.

   13        Q    And where do you live now?

   14        A    At Cupertino, California.

   15        Q    And can you just briefly describe your

   16   educational background?

   17        A    I have a master's of science in computer

   18   engineering from Chalmers University of Technology.

   19        Q    And what -- are you working at Apple now?     Are

   20   you employed?

   21        A    I'm an employee of Apple.

   22        Q    When did you start working at Apple?

   23        A    I started in 2003, in August.

   24        Q    Are you familiar with Spotlight?

   25        A    I am.     I am the manager Of the Spotlight Team.
Case16:08-cv-00088-LED
        And before that, Document
                         I was the 422
                                    liaison
                                        Filedbetween thePage
                                              10/20/10   Mac 18
                                                             OS of
                                                                10117 PageID #: 38841

    2   Performance Team and the Spotlight Team.

    3          Q   Can you pull the microphone down a little bit

    4   and speak into it so we can hear you?       Thank you.

    5              And what do you do in that role of

    6   responsibilities?

    7          A   I write a lot of the Spotlight code.      I lead

    8   the other engineers that are working on Spotlight in

    9   their jobs.   I deal with other teams, coordinate and

   10   prioritize work.

   11          Q   Okay.     And so you said you write code, and

   12   you're familiar with the code?

   13          A   I am very familiar, yes.      Before I was manager

   14   of the team, I was technical lead, which meant that I

   15   was in charge of basically most of the technical

   16   decisions about how the system works.

   17          Q   All right.     And so the code defines how

   18   Spotlight operates?

   19          A   The code is how Spotlight works.

   20          Q   All right.

   21                      MR. SOOBERT:   Diane, can you bring up

   22   JH1?

   23          Q   (By Mr. Soobert) Mr. Hornkvist, can you just

   24   briefly tell me what's shown here?

   25          A   Sure.     So we are seeing a high-level
Case16:08-cv-00088-LED
        description of --Document
                          of Spotlight. You 10/20/10
                                  422 Filed  see that Page
                                                      we have a 117 PageID #: 38842
                                                           19 of
    2   hierarchical folder system, which is just part of Mac OS

    3   10.     And we have the Spotlight Store, which is a content

    4   index and a Metadata Store.        And then we have a search

    5   interface.

    6           Q    Okay.    So Apple uses a hierarchical file and

    7   folder system that's shown there in the upper left-hand

    8   corner?

    9           A    Yeah, we do.

   10           Q    Okay.    How long have they used that?

   11           A    Since the Macintosh first came out, probably

   12   1984.

   13           Q    For decades?

   14           A    For decades, yes.

   15           Q    Okay.    And the Spotlight Store that's at issue

   16   in this case is -- is on the bottom part of that screen,

   17   right?

   18           A    Right.    Yes.   That's the content index in the

   19   Metadata Store.

   20           Q    Okay.    And if I wanted to sort of look under

   21   the hood, so to speak, of the computer and understand

   22   how it operates, I'd like at the source code, right?

   23           A    Yes, absolutely.

   24           Q    Okay.    Before we -- before we do that, let's

   25   talk just briefly about the architecture of the
Case16:08-cv-00088-LED
        Spotlight Store so we all understand
                         Document            what we're
                                  422 Filed 10/20/10    dealing
                                                      Page 20 of 117 PageID #: 38843
    2   with.

    3                Can you just describe what's -- what's in that

    4   store?

    5           A    Yeah.     So the -- the Spotlight Store contains

    6   metadata, that is, data about files, things like the

    7   author of a document and other sort of descriptive data

    8   about the things that you have in your system.

    9                And then the content index is a way of -- by

   10   terms in your documents, by words in your document,

   11   locating them.

   12                So if you -- you were looking for, you know,

   13   your tax return, or hopefully in that document you have

   14   the word tax return -- or the words tax return, so you

   15   give that to Spotlight, and we locate your tax return

   16   for you.

   17           Q    Okay.     Now, does Spotlight Store any documents

   18   itself?

   19           A    No.     Spotlight is not responsible for storing

   20   documents.     The file system does that.

   21           Q    Okay.     So even though it says Spotlight Store,

   22   that's -- it's not a place where documents are stored?

   23           A    No, no.     No, it's not.   It's -- we store data

   24   about documents.        We don't store documents.

   25           Q    And that data is reflected in one, the content
Case16:08-cv-00088-LED
        index and that metadata index?
                         Document 422 Filed 10/20/10 Page 21 of 117 PageID #: 38844
    2        A    It's reflected in the Metadata Store.      That's

    3   where we keep it, and we -- we index some of that

    4   metadata in the content index.

    5        Q    Okay.

    6                     MR. SOOBERT:   Diane, can we go to JH2,

    7   please?

    8        Q    (By Mr. Soobert) Okay.      Could you just briefly

    9   tell us what this shows?

   10        A    Yes.     So what shows here is, we have a system

   11   that has two separate hard drives.      One -- so Folder

   12   System 1 is the built-in hard drive in your Macintosh.

   13             And Folder System 2 is an external drive

   14   you've connected.

   15             And what we see is that they're actually two

   16   separate Spotlight Stores, one for the integrated drive

   17   and one for the external drive.

   18             And then the search interface will coalesce

   19   and show the results together.

   20        Q    Okay.     So in this example, one -- one of those

   21   Spotlight Stores would have some of the documents

   22   indexed that would be accessible by the system, and the

   23   other Spotlight Store would have whatever documents

   24   could be accessible through a separate volume drive on

   25   the computer; is that correct?
Case16:08-cv-00088-LED
             A    That isDocument
                          correct, 422
                                    yes. Filed
                                           We don't  actually
                                               10/20/10       have
                                                         Page 22 of 117 PageID #: 38845
    2   the document, as I said before.      We have the data about

    3   the document.

    4        Q    Right.

    5             Okay.     And this slide -- in this next slide in

    6   this series of slides we're looking at, are these

    7   accurate representations of how Spotlight operates?

    8        A    These are accurate at a very high level.

    9        Q    Okay.     And we'll go drill down in just a

   10   second.

   11             And these are consistent, the architecture and

   12   the operation we're discussing today, with how Spotlight

   13   is actually reflected and runs in the code, right?

   14        A    That is correct.

   15        Q    Okay.

   16                     MR. SOOBERT:   Let's go to JH3.

   17        Q    (By Mr. Soobert) Okay.      Now, this is just

   18   highlighting the Spotlight Store, and we've seen that

   19   there's -- there's the index and the Metadata Store?

   20        A    Correct.

   21        Q    Okay.

   22                     MR. SOOBERT:   Let's go to JH4.

   23        Q    (By Mr. Soobert) Now, so I want to focus on

   24   the aspect of the Spotlight Store right now on the

   25   Metadata Store in this so-called database.
Case16:08-cv-00088-LEDMR. SOOBERT:422So Filed
                        Document        -- so10/20/10
                                               let's look at23
                                                       Page  the
                                                               of 117 PageID #: 38846
    2   next slide, 5.

    3           Q      (By Mr. Soobert) And describe here for me, if

    4   you would, what is being shown.

    5           A      Okay.   So what we see here is, we have a

    6   database.       In that database, we have pages.     The data is

    7   separated onto pages.          So -- and on each page objects

    8   are -- we have database objects, which represent -- each

    9   represents a file in your file system.

   10                  And Object ID 1 here is a file called

   11   Football.pdf, and that's on Page 1.          Then you see on

   12   Page 2 we're starting with OB number 5.          Page 3 happens

   13   to start with Object ID number 9.

   14                  And as you can tell, we have some metadata on

   15   here.       We have the size; we have the date.     And you can

   16   also see that there's no -- the order is simply by

   17   object ID here.

   18           Q      Okay.   Does this demonstrate that the -- the

   19   Spotlight Metadata Store is organized by object ID and

   20   not time?

   21           A      Yes, it does.

   22           Q      Okay.   And you understand Mirror Worlds is

   23   contending that the Spotlight Metadata Store maintains

   24   documents in a chronological order?

   25           A      That's not correct.
Case16:08-cv-00088-LED
             Q    Why is Document
                         that not correct?
                                  422 Filed 10/20/10 Page 24 of 117 PageID #: 38847
    2        A    Because it's ordered by the object identifier,

    3   which is a number the file system assigns to the files,

    4   and that number increases each time a file is added, but

    5   it has nothing to do with the date on the files.

    6             And once you have used up all available

    7   numbers, it starts over from the bottom of the number.

    8   It starts over at 1 and tries to look for the next

    9   unused file ID.

   10        Q    Okay.     So Apple, through the Spotlight Store,

   11   tracks it by object ID --

   12        A    By object ID.

   13        Q    -- which is not tied to time?

   14        A    That's correct.        It's not tied to time.

   15        Q    Okay.     And then -- how do you know that again?

   16             Is that in the source code?

   17        A    That is in the source code, right.

   18        Q    Okay.

   19                     MR. SOOBERT:     Diane, let's go to DX1017,

   20   please, and go to the second page, please.

   21                     And this is tough to read.     Let's go to

   22   the next page, please, Line 4178 at the bottom.

   23                     Just highlight that, please.

   24        Q    (By Mr. Soobert) And this -- this is actual

   25   source code, the computer instructions taken from the
Case16:08-cv-00088-LED
        Macintosh operating system,422
                         Document   right?
                                       Filed 10/20/10 Page 25 of 117 PageID #: 38848
    2        A       Yes.     This is from the Spotlight project.

    3        Q       Okay.     Can you describe what's shown there?       I

    4   mean, this looks pretty technical, but can you sort of

    5   try to explain this to me?

    6        A       Sure.     So this is a function in the source

    7   code that inserts a new database object -- that's what's

    8   called the ndbo for new database object -- into the

    9   DataStore.

   10                On the page which has the page number here

   11   with PG -- yeah, this is -- this is the top of that

   12   function.

   13                        MR. SOOBERT:    So let's go to the next

   14   page of this, Diane, Lines 4218, please.

   15                        4218, 4219.    We'll look at 4224 in a

   16   second.

   17        Q       (By Mr. Soobert) And what does this tell us

   18   right here?

   19        A       Okay.     So what we're looking at here is the

   20   section of the code that finds the right spot in the

   21   database page to insert a new database object.          So that

   22   would be the ndbo.

   23                And it does that by the object identifier,

   24   which we have shortened to OID.          And this is -- this is

   25   what we call a loop.        It starts by comparing, to make
Case16:08-cv-00088-LED
        sure that we're not already422
                         Document   at the
                                       Filedend of the Page
                                             10/20/10  page.26And
                                                               of 117 PageID #: 38849
    2   then it compares the object we're currently looking at.

    3   That would be the dbo to the new one we want to insert.

    4                And if the object identifier of the new object

    5   is greater than the object identifier of the object in

    6   this spot on the page, we call this thing the next dbo

    7   that gets -- that basically calculates where the next

    8   database object on the page is.

    9                We move forward to that object, and then we

   10   compare the -- that object to the new dbo.        And then we

   11   proceed like that until we find the right slot -- the

   12   right spot on the page to insert the object.

   13                It's basically like trying to put a book in a

   14   bookshelf.     If you have your books sorted by author, you

   15   start at one end and you browse through them until you

   16   get to the proper letter, and then you insert the book.

   17        Q       Right.   And then in that analogy, those books

   18   are arranged by object ID?

   19        A       Right.

   20        Q       That's how they are tracked, and those aren't,

   21   again, in any kind of time-ordered sequence; is that

   22   right?

   23        A       Right.

   24                     MR. SOOBERT:     Let's go to JH6, please.

   25                     Oh, I'm sorry.     Can we go back to that
Case16:08-cv-00088-LED
        prior exhibit just real quick?
                         Document      And that's
                                  422 Filed        DX1017.
                                            10/20/10  Page 27 of 117 PageID #: 38850
    2                        Okay.   Go back to that third page,

    3   please, and that one line, 4224.

    4        Q       (By Mr. Soobert) And what is -- what does this

    5   part of the code tell us?

    6        A       So this is a comment that the developer who

    7   wrote this inserted, saying that we should check that

    8   the object isn't already existing.         And if it already

    9   exists, we'll return with an error so that we don't

   10   accidentally insert the same thing twice.

   11        Q       Now, is there any kind of time mechanism -- I

   12   mean, tiebreaker mechanism in here?

   13        A       In here?

   14                It's only the object identifier, no tiebreaker

   15   is needed.     Object identifiers uniquely identify one

   16   file in the file system.

   17        Q       Right.     So Spotlight uniquely identifies

   18   each -- each document based on that object identifier,

   19   and it doesn't need to look to any other data to break

   20   any kind of tie, because there are no ties, right?

   21        A       There cannot be a tie on a single file system.

   22        Q       Okay.

   23                        MR. SOOBERT:   Diane, can you bring up

   24   JH -- JH6, please?

   25        Q       (By Mr. Soobert) Now, I just want to briefly
Case16:08-cv-00088-LED
        focus on this content index.
                         Document 422 This
                                       Filedwas the other
                                             10/20/10     index
                                                       Page 28 of 117 PageID #: 38851
    2   that was relevant to the Spotlight Store.

    3                     MR. SOOBERT:   Can we go to the next

    4   slide?

    5        Q    (By Mr. Soobert) And -- and what does this

    6   tell us and show?

    7        A    So this shows how data is organized in the

    8   term index, and you will have -- you have terms, and for

    9   each term, there is a -- there's -- basically, there's a

   10   circle in this tree corresponding to a term.

   11        Q    Okay.     So this is the part of the code that

   12   actually, as I start typing into the Spotlight window,

   13   starts pulling up the words.      This is how it does it

   14   through this tree structure?

   15        A    Yeah.

   16        Q    And this part of Spotlight or the content

   17   index is likewise not ordered by time.      It's simply this

   18   data tree structure?

   19        A    Yeah.     This is stored in an order that would

   20   be alphabetical.

   21        Q    Okay.     So it's alphabetical and not by time?

   22        A    Yeah.

   23        Q    Okay.     There's no time-ordering to it at all,

   24   right?

   25        A    To this, there is no time-order.
Case16:08-cv-00088-LEDMR. SOOBERT:422AllFiled
                        Document          right.   Let'sPage
                                              10/20/10   go to
                                                             29 of 117 PageID #: 38852
    2   DX290, please, Page 3.

    3        Q       (By Mr. Soobert) Now, do you understand that

    4   Apple's search technology provided the bases and

    5   framework of the content index we just looked at for

    6   Spotlight?

    7        A       Yeah; that's correct.      In Mac and Tiger, we

    8   used the SearchKit, which was an evolution of something

    9   called Twin that was developed by Apple's Advanced

   10   Technology Group sometime in the early '90s.

   11        Q       Okay.     In that first paragraph there under

   12   these figures --

   13                        MR. SOOBERT:   Can you blow that up,

   14   Diane?   It starts with the content index.

   15        Q       (By Mr. Soobert) And that statement there

   16   essentially -- I'm paraphrasing -- reflects that the

   17   content index is built using an evolved and optimized

   18   version of SearchKit, which is that preexisting

   19   technology you discussed?

   20        A       Yeah, that's correct.

   21                SearchKit was introduced as a developer API in

   22   Panther, but had existed and was -- had been used

   23   internally at Apple for many years before that.

   24        Q       Okay.     And this document, this is the Apple

   25   document that Apple provides to software developers?
Case16:08-cv-00088-LED
             A    That's Document
                         correct. 422 Filed 10/20/10 Page 30 of 117 PageID #: 38853

    2        Q    Okay.     So they can understand how -- how the

    3   source code operates and what-not?

    4        A    Yeah.

    5        Q    Okay.

    6        A    That's -- this is for them to understand how

    7   to write their programs.

    8        Q    Okay.     Now, let me ask you a couple of

    9   specific questions about the operation of Spotlight.

   10             Now, does Spotlight -- does the Spotlight

   11   index index everything?

   12        A    No.     The Spotlight index avoids indexing

   13   things we don't think will be useful for the user,

   14   because there's quite a significant cost in indexing.

   15        Q    All right.     And what kinds of things are

   16   excluded from the index?

   17        A    The first thing is temporary files, files that

   18   just come and go.     Then there are files that we regard

   19   that are private to a program that users are not really

   20   intended to deal with.

   21             You might have -- I guess a good example would

   22   be any application that deals with a collection of files

   23   but provides like a unified interface to them.

   24             For that, we wouldn't let you find those --

   25   those -- that collection of files.     We would only let
Case16:08-cv-00088-LED
        you find the top-level unified
                         Document 422 document.
                                       Filed 10/20/10 Page 31 of 117 PageID #: 38854
    2        Q      Okay.     Now, the types of those documents that

    3   are excluded from the Spotlight index that aren't -- you

    4   know, there's some subset of documents, are there some

    5   pretty significant documents that might be excluded,

    6   like privacy-related documents or something?

    7        A      Yes.     We have a feature that lets you exclude

    8   files that you don't want people to find on your

    9   computer.    We call that Privacy.

   10        Q      Okay.     So if I have like tax returns and my

   11   billing statements and documents that have my Social

   12   Security number, these are like my most important and

   13   sensitive documents?

   14        A      Yeah.     So it's very common that you would add

   15   those to Privacy to keep someone from accidentally

   16   bumping into them or someone that just gets -- happens

   17   to gain access to your machine to quickly find them.

   18        Q      Okay.     Then those documents wouldn't be

   19   indexed by Spotlight nor, by definition, returned in any

   20   kind of Spotlight search results?

   21        A      Yes.     In fact, we actually actively remove

   22   them from our index, if they were already were indexed

   23   and you were to add them to the Privacy setting.

   24        Q      Okay.

   25                       MR. SOOBERT:   Can you move to show JH8?
Case16:08-cv-00088-LED
             Q    (By Mr.Document
                          Soobert) 422
                                    In this
                                        Filedslide here,Page
                                              10/20/10   does32
                                                              this
                                                                of 117 PageID #: 38855
    2   reflect this Privacy exclusion that keeps the private

    3   documents out of Spotlight?

    4        A    Yeah, that's correct.

    5        Q    Okay.     All right.    Let's talk for a second

    6   about potentially future documents.

    7             Does the Spotlight Store include any -- store

    8   documents by future date?

    9        A    No.     We don't have any understanding of the

   10   data that we store really.       We just store what we're

   11   told by applications to put in there, and we order it by

   12   the object identifier.

   13        Q    Okay.     And so if I run the Spotlight search

   14   and then I want to sort the results by date, can I sort

   15   those results by future dates, some date out in the

   16   future?

   17        A    To my knowledge, in the user interface we

   18   provide, there's no way of doing that.

   19        Q    Okay.     So just as an example, if I have

   20   something on my calendar in that iCal application, okay,

   21   that's out on my computer and I put I'm going to

   22   vacation in a week, that's a future reminder or just an

   23   object that I put into my system, right?

   24        A    Yeah.

   25        Q    Okay.     And I run a Spotlight search and I just
Case16:08-cv-00088-LED
        type in the word Document
                         vacation, 422
                                    does Filed
                                         that 10/20/10
                                               -- does that
                                                        Pageobject
                                                             33 of 117 PageID #: 38856
    2   pop up?

    3        A    That object will show up, yes.

    4        Q    Yes.     And will that date, that date in the

    5   future, show up in the -- or be able to be

    6   searched on -- sorted on in the search results?

    7        A    You're talking about the Finder here or --

    8        Q    Yeah.     I'm talking about the general file --

    9   Spotlight operation.

   10        A    Oh, no.     As far as I know, there's no way of

   11   sorting on that.

   12        Q    So there's no way of sorting on a future date

   13   in Spotlight; is that right?

   14        A    That is my understanding, yes.

   15        Q    Okay.     And what are the dates in Spotlight

   16   that could be, you know, sorted on or the date created,

   17   last opened, and date modified; is that right?

   18        A    That is correct, yes.

   19        Q    Okay.     So now let's talk real briefly about

   20   this CFUUID.

   21             Do you know what that is?

   22        A    CFUUID is essentially a 16-character --

   23   16-letter -- I guess we can call it a 16-letter word

   24   that lets you uniquely identify something.

   25        Q    Okay.     And you understand Mirror Worlds
Case16:08-cv-00088-LED
        contends that CFUUID is used
                         Document 422somehow  to break Page
                                       Filed 10/20/10  ties 34 of 117 PageID #: 38857

    2   between two documents in a -- in the same volume on the

    3   computer.

    4                Is that -- is that true?

    5        A       For this same volume, the object identifier is

    6   always enough to break the tie.

    7        Q       Okay.    And that's in the source code, right?

    8        A       That's in the source code, yes.

    9        Q       Okay.    And you just can't look at the screen

   10   and look at Spotlight from the user perspective and

   11   figure out how that operates, right?

   12        A       We try very hard to hide how it works under

   13   the cover.

   14        Q       Right.    So the user doesn't have to worry

   15   about what's underneath the hood, and that's how --

   16   that's how the source code in Spotlight operates, right?

   17        A       Yeah.    The source code is what defines how it

   18   works, and the user interface is often entirely removed

   19   from that operation.

   20        Q       Okay.    Now, if Mirror Worlds has questions

   21   about that and they want to ask somebody about how that

   22   source code operates, you're one of the very best people

   23   to ask that, right?

   24        A       Yeah, I would be the person to ask about that.

   25        Q       All right.    Well, let's see hear what they
Case16:08-cv-00088-LED
        have to say.   Document 422 Filed 10/20/10 Page 35 of 117 PageID #: 38858
    2                    MR. SOOBERT:   Pass the witness.

    3                        CROSS-EXAMINATION

    4   BY MR. STEIN:

    5           Q   Good morning, Mr. Hornkvist.

    6           A   Good morning.

    7           Q   You've testified that the files are not stored

    8   in the Spotlight Store; is that correct?

    9           A   That is correct.

   10           Q   But there's information in the Spotlight Store

   11   that would enable you to find the corresponding file for

   12   the metadata that's in the Spotlight Store; isn't that

   13   true?

   14           A   The object identifier will let you find the

   15   corresponding item in the file system.

   16           Q   So you can go from the information in the

   17   Spotlight Store to the corresponding file in the file

   18   system, right?

   19           A   Normally that is true.

   20           Q   And you -- as you said, you do that just

   21   through that object identifier, right?

   22           A   Right.

   23           Q   When a typical customer buys a Mac computer,

   24   how many disk drives does it have in it?

   25           A   Typically, it has one disk drive, though it's
Case16:08-cv-00088-LED
        becoming more common to have
                         Document 422multiple  ones because
                                       Filed 10/20/10       of of 117 PageID #: 38859
                                                       Page 36
    2   the Time Machine feature.

    3        Q     The Time Machine feature is an external disk

    4   drive.   It requires an external disk drive, correct?

    5        A     Internal or external.

    6        Q     It's still typically is -- the Mac computers

    7   are sold with one disk drive, correct?

    8        A     It's my understanding that most Macintoshes

    9   are sold with one disk drive, though I don't work in

   10   marketing, so I don't actually have sales figures.

   11        Q     And it would be one Spotlight Store for that

   12   one disk drive, correct?

   13        A     That depends on whether the user has asked for

   14   one or more stores.     So it's very, very common for our

   15   users to have -- to use partitioning, which allows you

   16   to divide the drive up into multiple pieces.     And then

   17   there would then be one Spotlight Store for each of

   18   those pieces of the hard drive.

   19        Q     Out of the -- out of the box, the -- the disk

   20   drive on the Mac would have one partition, right?

   21        A     I believe it comes with one partition called

   22   Macintosh HD.

   23        Q     Thank you.

   24              I think Mr. Soobert asked you if it was your

   25   understanding that it's Mirror Worlds' position that the
Case16:08-cv-00088-LED
        Metadata Store isDocument
                          arranged 422
                                    in chronological
                                        Filed 10/20/10order; is of 117 PageID #: 38860
                                                        Page 37
    2   that right?

    3        A    That --

    4        Q    I'm just asking you if Mr. Soobert asked you

    5   that question, if it was your understanding that it is

    6   Mirror Worlds' position that the Metadata Store in

    7   Spotlight is arranged in chronological order.

    8        A    I don't think he asked me that question.

    9        Q    Do you know what Mirror Worlds' position is

   10   with respect to infringement by Spotlight in this

   11   litigation?

   12        A    Not in detail, no.

   13        Q    And the Metadata Store is just one component

   14   of the Spotlight Store, right?

   15        A    It's one of the two major components.

   16        Q    And there's something called the Spotlight

   17   server in Spotlight.     Are you familiar with the term

   18   Spotlight Server?

   19        A    I -- there are a couple of things you might be

   20   referring to.     One is the Spotlight server process.

   21             Is that what we're talking about?

   22        Q    Yes.

   23        A    Okay.

   24        Q    And the Spotlight server process -- by the

   25   way, before I ask that question, are you familiar with
Case16:08-cv-00088-LED
        the term Spotlight engine? 422 Filed 10/20/10 Page 38 of 117 PageID #: 38861
                         Document
    2        A     It's one of many descriptions that people use

    3   about Spotlight.

    4        Q     And that would include this Spotlight Server

    5   process, correct?

    6        A     It might, yes.    It's not a clear term in that

    7   sense.

    8        Q     And the Spotlight server process controls

    9   access to the information within the Spotlight Store,

   10   correct?

   11        A     The Spotlight server process is the component

   12   that essentially uses the Metadata Store and the content

   13   index and controls access to it, makes sure that other

   14   users can't see documents that belong to you and so

   15   forth.

   16        Q     So this Spotlight server process is the way in

   17   which other programs within Apple's operating system

   18   gets access to the Spotlight Store, correct?

   19        A     Yes.    In the sense that they use a programming

   20   interface that we call metadata framework, which takes

   21   the program's request and sends it on to the server.

   22   But that's entirely hidden from the user or from the

   23   software developer.

   24        Q     The -- the -- right.    Thank you.

   25              And the -- you mentioned the application
Case16:08-cv-00088-LED
        programming interface. That's
                         Document 422 how
                                      Fileddevelopers would39 of 117 PageID #: 38862
                                            10/20/10 Page
    2   interact -- get their programs to interact with this

    3   Spotlight Store, correct?

    4        A    That is correct.

    5        Q    So the programmers don't need to know what's

    6   going on inside the Spotlight Store; they interact with

    7   it through this API, application program interface,

    8   right?

    9        A    That's correct.

   10             We recommend certain ways of using it to

   11   improve performance; but beyond that, they don't need to

   12   know much to make it work correctly.

   13        Q    Now, you're aware that in Leopard, metadata

   14   was added to the content index, correct?

   15        A    Yes.   I did a large part of that work.

   16        Q    And that metadata includes time-based

   17   metadata, correct?

   18        A    That includes -- yeah.   That included numbers,

   19   dates, strengths, and true/false values.

   20        Q    And the reason it was added was so that this

   21   time-based metadata could be -- before I ask that, and

   22   that time-based metadata includes things like content,

   23   last updated, timestamp, type-in, you know, information

   24   like --

   25        A    It -- as far as I recall, it contains very
Case16:08-cv-00088-LED
        little date information for422
                         Document   mostFiled
                                          files,  because
                                              10/20/10    the40
                                                        Page  file
                                                                of 117 PageID #: 38863
    2   system itself has things like the creation date, the

    3   date the content was modified and so forth.

    4        Q       It did include the time-based metadata from

    5   the metadata that was stored in the Spotlight Store,

    6   correct?

    7        A       Yes.

    8        Q       And the reason for doing that was so that that

    9   information could be accessed more quickly, correct?

   10        A       No.     The reason for doing that was so that you

   11   could query on it, so that you could search for things

   12   based on the date information.

   13        Q       So if you wanted to search for documents that

   14   were between -- in that date range, it would be easier

   15   to find the documents within that date range, correct?

   16        A       Yeah.     It would be quicker, correct.

   17        Q       And let me see if I heard you properly.

   18                You said the Spotlight Store does not index

   19   things that -- and I think you said, quote, are not

   20   useful to the user; is that correct?

   21        A       Could you repeat that?     I didn't hear.

   22        Q       You stated earlier that the Spotlight Store

   23   does not index things that are not useful to the user;

   24   is that --

   25        A       We try to avoid that.     It's a very, very
Case16:08-cv-00088-LED
        difficult problem, because 422
                         Document   what Filed
                                         is not   useful Page
                                               10/20/10  to me41 of 117 PageID #: 38864

    2   might be useful to you; what is useful to me as a

    3   software developer might not at all be useful to you.

    4              So we have some -- we have some heuristics for

    5   locations that we regard as unlikely to be useful for

    6   most users.    And if some users are then disappointed

    7   because they can't find it, we would rather take that

    8   than confuse most users with files that are not useful

    9   to them.

   10        Q     All right.   You also mentioned a privacy

   11   feature, and you said that users can use that to exclude

   12   documents, right?

   13        A     That is correct.

   14        Q     Users don't have to use that privacy feature,

   15   correct?

   16        A     It's up to the user whether they want to use

   17   that or not.

   18        Q     And I think I saw, when Mr. Soobert put up the

   19   slide, that in order to reset the -- the privacy

   20   feature, you had to go through the -- was that the

   21   system's preferences menu?

   22        A     That is the system preferences, yes.

   23        Q     So the user would have to pull up that

   24   system's preferences menu and then make some kind of

   25   adjustment within there, correct?
Case16:08-cv-00088-LED
             A    Yes. That is available
                        Document         from
                                 422 Filed    the Spotlight
                                           10/20/10  Page 42 of 117 PageID #: 38865
    2   search menu, which is our primary user interface.      As

    3   soon -- whenever you have search results up in the

    4   Spotlight search menu, you also see a field that you can

    5   click, to go to this panel.

    6        Q     You also talked a little bit about the future

    7   times.   One of the items of metadata items is the --

    8   something called the due date; isn't that right?

    9        A     That's quite possible, yeah.    We have a -- we

   10   have a very large schema, which contains essentially

   11   everything we could think of that might be useful to --

   12   to have in the DataStore.

   13        Q     And -- and in Leopard, that due date also was

   14   one of the pieces of metadata that would have been put

   15   into the Content Store, too, correct?

   16        A     That would have been indexed.

   17        Q     You started working on Spotlight after --

   18   after the release of Tiger; is that right?

   19        A     No.   I started working on Spotlight probably

   20   sometime during 2004 in my role as an engineer on the

   21   Mac OS 10 performance team; and I joined the Spotlight

   22   team full time, I believe in January of or February

   23   2005, which would have been a couple of months before

   24   Tiger shipped.

   25              If I -- if I have my timeline correct, Tiger
Case16:08-cv-00088-LED
        shipped April 2005.
                         Document 422 Filed 10/20/10 Page 43 of 117 PageID #: 38866
    2           Q     Thank you.

    3                         MR. STEIN:     No further questions.

    4                         THE COURT:     Redirect?

    5                         MR. SOOBERT:     None here, Your Honor.

    6                         THE COURT:     All right.    You may step

    7   down.

    8                         Who will be your next witness?

    9                         MR. RANDALL:     Mr. Pavel Cisler, Your

   10   Honor.

   11                         THE COURT:     Mister who?

   12                         MR. RANDALL:     Pavel Cisler.

   13                         COURTROOM DEPUTY:     Please raise your

   14   right hand to be sworn.

   15                         (Witness sworn.)

   16               PAVEL CISLER, DEFENDANTS' WITNESS, SWORN

   17                             DIRECT EXAMINATION

   18   BY MR. RANDALL:

   19           Q     Can you please state your name for the record?

   20           A     My name is Pavel Cisler.

   21           Q     Okay.     And I have to lean into this

   22   microphone, so -- unfortunately, everybody does.              This

   23   stem is a little bit short.

   24                 Can you describe your educational history

   25   after high school?
Case16:08-cv-00088-LED
             A    I have Document
                         a master's422
                                    of science  in electrical
                                       Filed 10/20/10  Page 44 of 117 PageID #: 38867
    2   engineering from the Czech Technical University in

    3   Prague.

    4        Q      Do you also have a master's degree?

    5        A      Sorry.    Yeah.    I have a master's in electrical

    6   engineering, yes.

    7        Q      And what did you do after you got your

    8   master's degree?

    9        A      I had a brief period of working as an

   10   electrical engineer.      Then I started a software company

   11   in the Czech Republic.        We worked on Macintosh software.

   12               After that, in '94, I moved to the Silicon

   13   Valley, and I worked at three startups:        General Magic,

   14   B Incorporated, and Easel.

   15               And after that, in 2001, I started at Apple

   16   Computer.

   17        Q      Okay.    And we all have to -- you'll have to

   18   lean into the microphone just a little bit, so we can

   19   all hear.

   20        A      Okay.

   21        Q      What's your current position at Apple?

   22        A      At Apple, I managed the Finder and the Time

   23   Machine teams.

   24        Q      And is the Finder, is that really a window

   25   that displays the results of searches of Spotlight?
Case16:08-cv-00088-LED
             A    No. Finder is a 422
                        Document   general
                                       Filedfile -- file
                                             10/20/10    browser
                                                       Page 45 of 117 PageID #: 38868
    2   that lets you open folders and examine files, and it

    3   also lets you do searches, among other things.

    4        Q     All right.     And what other positions have you

    5   held at Apple?

    6        A     When I first started in 2001, I was a software

    7   engineer on the Finder team.       Eventually -- I believe

    8   after two years, I became the tech lead of the Finder.

    9              And then later, I started managing the team.

   10              And around the beginning of the Leopard

   11   project, I assembled a team that started developing Time

   12   Machine.   And since that time, I have managed both the

   13   Finder and the Time Machine teams.

   14        Q     Is there -- are you familiar with a -- what's

   15   called a -- kind of a Coverflow view of information in

   16   the Finder?

   17        A     Yes, I am.

   18        Q     Okay.     Do you understand that Apple obtained a

   19   technology license from a company called Steel Skies in

   20   May of 2006 for $70,000 to this Coverflow technology?

   21        A     Yes, that's my understanding.

   22                      MR. RANDALL:   Let's go to DX636 at

   23   Page 1.

   24                      And if you can just highlight that

   25   section there (indicates).
Case16:08-cv-00088-LED
             Q    (By Mr.Document
                          Randall) 422
                                    Now, Filed
                                         this 10/20/10
                                               is the assignment
                                                        Page 46 of 117 PageID #: 38869
    2   agreement between Apple and Andrew Coulter Enright, and

    3   Jonathan del Strother, and it's dated May 15, 2006.

    4                     MR. RANDALL:   Down at Section 2.1, if you

    5   can scroll down, is the assignment to Coverflow art,

    6   which is about the fourth line from the bottom.

    7                     And then if we can flip, Diane, to the

    8   next page, which is 4.1, Section 4.1.      And, again, this

    9   is Exhibit 636.

   10        Q    (By Mr. Randall) The consideration is $70,000.

   11                     MR. RANDALL:   And then if we can go to

   12   Page 7 of this document, it's the technology description

   13   at Exhibit A.

   14        Q    (By Mr. Randall) And the first paragraph up

   15   there says:     Software for album browsing that enables

   16   the users to browse and launch digitally stored albums

   17   by viewing and flipping through the album art as

   18   described in the following websites hereinafter referred

   19   to as Coverflow software.

   20             And then a few lines down, it says:      Copies of

   21   these webpages are attached hereto.

   22             Is it your understanding, sir, that Apple

   23   licensed, for $70,000, a technology license from Steel

   24   Skies for the Coverflow view that is utilized in various

   25   products at Apple?
Case16:08-cv-00088-LED
             A    Yes, that's my understanding.
                         Document 422 Filed 10/20/10 Page 47 of 117 PageID #: 38870
    2        Q    Thank you.

    3                     MR. RANDALL:     No further questions, Your

    4   Honor.

    5                     THE COURT:     All right.   Cross-exam.

    6                         CROSS-EXAMINATION

    7   BY MR. STEIN:

    8        Q    Good morning, Mr. Cisler.

    9             The Steel Skies license that Mr. Randall was

   10   just mentioning, that wasn't a patent license, was it?

   11        A    I believe it was a license to acquire the

   12   technology.

   13        Q    But there were no patents involved in that

   14   license, was there?

   15        A    I'm not sure.

   16        Q    You don't know, right?

   17        A    No.

   18        Q    It had just been a copyright license, for

   19   example, right?

   20        A    I'm -- I'm -- I'm -- I don't know.

   21        Q    And didn't Apple already implement internally

   22   its own version of Coverflow before it signed that

   23   license with Steel Skies?

   24        A    I don't believe that's the case.

   25        Q    Do you know that Apple was working on
Case16:08-cv-00088-LED
        implementing a version of Coverflow
                         Document 422 Filed before that
                                            10/20/10    license
                                                      Page 48 of 117 PageID #: 38871
    2   was signed?

    3        A    I don't believe -- I'm not aware of Apple

    4   working on a version of Coverflow before that license.

    5        Q    Do -- do you know one way or another if Apple

    6   was working on that?

    7        A    As far as I know, Apple wasn't working on it.

    8        Q    Do you know who implemented the first version

    9   of Coverflow at Apple?

   10        A    I believe the technology was licensed, and

   11   then it was -- after it was licensed, it was added to

   12   iTunes, to the iTunes application by the iTunes team.

   13        Q    I asked you if you knew who created the code

   14   for Coverflow, the original version of the code at

   15   Coverflow for Apple.

   16        A    Well, I believe it's -- it's the gentleman

   17   that we licensed the technology from.

   18        Q    You don't know that Apple completely rewrote

   19   the code on its own and did not use any of the code from

   20   the people they licensed Coverflow from?

   21        A    Well, the -- it depends on which

   22   implementation of Coverflow.   There's a version of

   23   Coverflow that's used in the Finder.

   24             And that version, to my knowledge, was

   25   reimplemented by the Image Kit team in Paris, and the
Case16:08-cv-00088-LED
        gentleman that was in charge
                         Document 422of Filed
                                        that 10/20/10
                                              implementation isof 117 PageID #: 38872
                                                       Page 49
    2   named -- I know him.      His name is Thomas Goossens.

    3        Q     Do you know a gentleman named Mr. Heller?

    4        A     Yes, I do.

    5        Q     Do you know that he was designated by Apple

    6   early in this case to speak on behalf of Apple regarding

    7   this agreement that we've been talking about in the

    8   development of Coverflow?

    9        A     Yes, I do.

   10        Q     Well, during his deposition, he said that when

   11   I asked him if Apple used any of the source code

   12   provided by Mr. Enright and Mr. del Strother, who are

   13   the people Apple licensed that technology from -- if

   14   Apple used any of the source code provided by them in

   15   the implementation of Coverflow and iTunes, he said:       In

   16   the end, we did not use any of their source code.

   17              Do you have any reason to disagree with that?

   18        A     I don't.     I'm sure that's correct.   Mr. Heller

   19   was closer to that work than I was.

   20        Q     And he also made it clear that Apple was

   21   developing that source code before that license was even

   22   signed.   Are you aware of that?

   23        A     I'm not aware of that.

   24        Q     Do you have any reason to disagree with that?

   25        A     I -- if that's what Mr. Heller said, then I'm
Case16:08-cv-00088-LED
        sure that's accurate.
                         Document 422 Filed 10/20/10 Page 50 of 117 PageID #: 38873
    2                     MR. STEIN:   All right.   James, could you

    3   bring up Plaintiff's Exhibit 130?

    4                     And blow up the top, please.

    5           Q   (By Mr. Stein) This is an e-mail sent by Gene

    6   Ragan to Peter, but also copied the Finder team, the

    7   finderteam@group.apple.com.      It's dated October 10,

    8   2002.

    9               You were a member of the Finder team in 2002,

   10   correct?

   11           A   That's correct, yes.

   12           Q   And you would have received this e-mail,

   13   correct?

   14           A   Yes, that's -- that's very likely.

   15           Q   And this e-mail is basically just a -- sending

   16   the Scopeware website around to the Finder team,

   17   correct?

   18           A   That's correct.

   19           Q   Thank you.

   20                     MR. STEIN:   No further questions.

   21                     THE COURT:   All right.   Redirect?

   22                        REDIRECT EXAMINATION

   23   BY MR. RANDALL:

   24           Q   Do you understand that a technology license to

   25   Coverflow from Steel Skies for album-flipping art and
Case16:08-cv-00088-LED
        the technology asDocument
                          it appears
                                  422in Filed
                                        the website
                                              10/20/10means
                                                        Pagethat
                                                             51 of 117 PageID #: 38874
    2   Apple can implement that type of displays and that type

    3   of technology in any way it specifically chose?

    4        A     That's my understanding.

    5        Q     All right.   And you didn't -- Apple did not

    6   lift quantities of source code and just plug it in;

    7   Apple implemented it in different products in different

    8   ways by writing this code, right?

    9        A     That's -- according -- yes, that's correct.

   10        Q     Thank you.

   11                    MR. RANDALL:     No further questions.

   12                    THE COURT:     Any further recross?

   13                    MR. STEIN:     No.

   14                    THE COURT:     All right.   Thank you.   You

   15   may step down.

   16                    Who will be Defendants' next witness?

   17                    MR. RANDALL:     Mr. Kevin Tiene, Your

   18   Honor.

   19                    THE COURT:     All right.   Has this witness

   20   been sworn?

   21                    MR. SOOBERT:     No, he has not, Your Honor.

   22                    THE COURT:     If you would raise your right

   23   hand and be sworn.

   24                    (Witness sworn.)

   25            KEVIN TIENE, DEFENDANTS' WITNESS, SWORN
Case16:08-cv-00088-LED Document
                         DIRECT EXAMINATION
                                422 Filed 10/20/10 Page 52 of 117 PageID #: 38875
    2   BY MR. SOOBERT:

    3        Q     Good morning, Mr. Tiene.

    4        A     Good morning.

    5        Q     Can you state your name for the record,

    6   please?

    7        A     My name is Kevin Tiene.

    8        Q     Okay.    Where do you live?

    9        A     I live in Cupertino in California.

   10        Q     Okay.    And can you just describe your

   11   educational history since high school?

   12        A     Sure.    I went to school in Upstate New York

   13   for a few years at a college called Oneanta.     And then I

   14   transferred to George Mason University in Virginia, and

   15   that's where I got my Bachelor of Science and Computer

   16   Science.

   17        Q     Okay.    So you have a computer science degree?

   18        A     Correct.

   19        Q     Okay.    And then sometime after college, you

   20   joined Apple, right?

   21        A     Yes.    I joined Apple in 1988.

   22        Q     Okay.    And you're currently employed there at

   23   Apple still?

   24        A     Yes.

   25        Q     Okay.    So you've been there since 1988?
Case16:08-cv-00088-LED
             A    Correct.
                         Document 422 Filed 10/20/10 Page 53 of 117 PageID #: 38876
    2           Q     Okay.     And what was your role in sort of the

    3   late '80s and early '90s?

    4           A     In the late '80s and early '90s, I was in a

    5   group at Apple called the Advanced Technology Group,

    6   also referred to as ATG.

    7                 And there, we did a bunch of research into

    8   information, access, search, indexing, those kinds of

    9   technologies, and also human interfaces to those -- to

   10   those search engines.

   11           Q     Okay.     Did you work with Gitta Salomon?

   12           A     Yes, I did.     I worked with Gitta during those

   13   years in ATG.

   14           Q     Okay.     And you said you're familiar with

   15   indexing and searching technology from back in those

   16   days?

   17           A     Correct.

   18           Q     Okay.     And then have you sort of tracked the

   19   development of that over the years, Apple's evolution of

   20   indexing and searching technology?

   21           A     Yes, I have.     And in some ways, my career at

   22   Apple has sort of followed it as well.

   23                         MR. SOOBERT:   Okay, Diane, can I have

   24   KT002?      I'm sorry.     Next slide.

   25           Q     (By Mr. Soobert) Okay.      Mr. Tiene, this is a
Case16:08-cv-00088-LED
        timeline of indexing search422
                         Document   technology,  I believe,
                                       Filed 10/20/10       at of 117 PageID #: 38877
                                                       Page 54
    2   Apple.     Can you just briefly walk us through this

    3   timeline just generally summarizing what's shown here?

    4          A     Sure.   So the first item there, number one, is

    5   when ATG was formed.      I joined ATG in late 1988 or early

    6   '89.

    7                During that time period, I worked on a number

    8   of search and retrieval kinds of projects.      I was

    9   peripherally involved in the Piles project.      Some of the

   10   people that I -- that I worked with there were key

   11   people working on the Piles project, and I worked a bit

   12   with Gitta on that project as well.

   13                Around 1994 -- up to that time, we had been

   14   using kind of off-the-shelf search engines to do our

   15   experiments, and in 1994, we decided that it made sense

   16   for us to develop our own search engine.

   17                And so we had that developed, an engine that

   18   we called V-Twin, and it allowed us to -- our hope for

   19   that was that we would be able to use it for research,

   20   but also that we would write that engine to be product

   21   quality such that we hoped that it could be used in

   22   Apple products along the way.

   23                In Bullet No. 4 there, you can see that that

   24   is referring to a product that we actually did release

   25   called Sherlock that was part of the operating system,
Case16:08-cv-00088-LED
        and Sherlock included that 422
                         Document   V-Twin searching
                                        Filed 10/20/10engine as of 117 PageID #: 38878
                                                        Page 55
    2   its -- as its indexing and -- and searching engine.

    3             Subsequent to that, we took that V-Twin

    4   engine; and as Apple moved to Mac OS 10, we repackaged

    5   that engine and started calling it SearchKit, and that

    6   engine was -- was made available not only to Apple but

    7   also to third-party developers.

    8             And it was also the engine that was used as

    9   the basis of Spotlight when Spotlight was -- Spotlight

   10   was released in -- it looks like 2004.       The V-Twin

   11   engine was the engine that was used to do content

   12   indexing and retrieval for the users' files on their

   13   hard drive.

   14        Q    Okay.     Thank you.

   15             And all of these technologies use some form of

   16   indexing and searching technology, right?

   17        A    Correct.

   18        Q    Okay.

   19                     MR. SOOBERT:    Diane, can you give me

   20   DX1019, please?

   21        Q    (By Mr. Soobert) Mr. Tiene, do you recognize

   22   this document?

   23        A    Yes.     This is a document that is from a Text

   24   Retrieval Conference, and I believe this is -- the

   25   conference is called TREC.       And I believe that this is
Case16:08-cv-00088-LED
        the -- one of theDocument
                          conferences
                                  422 that
                                       Filedwe10/20/10
                                                submitted some
                                                        Page 56of
                                                                of 117 PageID #: 38879
    2   the papers having to do with V-Twin engine to the

    3   conference.

    4        Q    Okay.

    5                     MR. SOOBERT:   Can we go to Page 6,

    6   please?

    7        Q    (By Mr. Soobert) This is the front page of

    8   that article from the conference.      You're familiar with

    9   this article, right?

   10        A    Yes.

   11        Q    This paper.     And this accurately describes the

   12   V-Twin preexisting searching and indexing technology; is

   13   that right?

   14        A    Correct.

   15        Q    And this is from the mid-'90s, this paper.

   16   This particular paper was published in 1997, right?

   17        A    Yes.

   18        Q    But this technology existed, you know, well

   19   before 1996 as well, right?

   20        A    Correct.

   21        Q    Okay.     All right.   Let's shift gears and focus

   22   in on 2003.   Do you recall a Merlot offsite meeting?

   23        A    Yes.

   24        Q    And what was the focus of that meeting?

   25        A    So Merlot at that time was the name that we
Case16:08-cv-00088-LED
        referred to as our upcoming422
                         Document   operating  system release,
                                       Filed 10/20/10  Page 57 of 117 PageID #: 38880
    2   and every time that we start a new, big project like

    3   that, we go do an offsite meeting.

    4               And the purpose of that is to get everybody

    5   who are the key players in deciding what's going to be

    6   part of that next release, get them off to a location

    7   where there aren't distractions, their phones aren't

    8   ringing, and spend a day focusing on -- on what we

    9   should be building for the next -- for the next OS

   10   release.

   11        Q      Okay.     Was that -- was that some sort of super

   12   secret meeting to get together and discuss ideas and

   13   concepts from Dr. Gelernter or Mirror Worlds or

   14   Scopeware or the like?

   15        A      Absolutely not.

   16        Q      Okay.     And how -- and you remember that?

   17        A      I don't remember all of the details, but

   18   those -- those offsites covered quite a wide variety of

   19   topics.    And given my history in -- in being involved in

   20   text retrieval, I certainly would remember if there

   21   was -- if there was any significant discussion of such

   22   things.

   23        Q      Okay.     Let's try to refresh your recollection

   24   just a bit.

   25                       MR. SOOBERT:   Can we go to Plaintiff's
Case16:08-cv-00088-LED
        Exhibit 392? AndDocument
                         just blow422
                                   up that
                                      Filed top part there.
                                            10/20/10  Page 58 of 117 PageID #: 38881
    2        Q       (By Mr. Soobert) Mr. Tiene, this was an e-mail

    3   marked during your deposition earlier in this case that

    4   looks like an e-mail that you sent to yourself, and I

    5   think you describe it as notes that you had, you know,

    6   jotted down and kind of summarized in this e-mail from

    7   that Merlot offsite in 2003, right?

    8        A       Exactly, yes.     It appears as though -- as I

    9   looked through the documents, there were several

   10   timestamps throughout the day of this document as the

   11   meeting progressed.

   12                And this was an e-mail that I was simply

   13   capturing the notes of the -- of the meeting, as much as

   14   anything to make sure I was staying awake and paying

   15   attention to what was going on.

   16                And in some cases, I made little annotations.

   17   You can see here that I put three stars next to install

   18   performance, because my group was responsible for the

   19   installer, and I wanted to make sure to dig into that.

   20        Q       Okay.

   21                        MR. SOOBERT:   Diane, let's go to Page 2

   22   at the top.

   23        Q       (By Mr. Soobert) And you see there you typed a

   24   reference:     Scopeware, question mark, Yale, ask Ted.

   25                Do you see that?
Case16:08-cv-00088-LED
             A    Yes, I Document
                         do.      422 Filed 10/20/10 Page 59 of 117 PageID #: 38882
    2        Q     It doesn't mention anything about

    3   Dr. Gelernter there or Mirror Worlds, does it?

    4        A     No.

    5        Q     Okay.    Do you -- does this jog your memory

    6   whether Dr. Gelernter's name even came up at the

    7   meeting?

    8        A     I don't know if his name came up.     My

    9   understanding of -- of this, you know, looking through

   10   the document, this is -- happened at the -- during the

   11   tail end of one of the presentations, and people were

   12   asking questions.

   13              And to the best of my ability, my

   14   understanding about what happened here is that a

   15   gentleman by the name of Ted Goldstein must have said:

   16   Hey, you know, someone -- maybe we should look at this

   17   thing called Scopeware.     I saw, you know, some article

   18   or news about it or whatever.      Just came up as a

   19   comment.

   20              I clearly wrote:     Scopeware, question mark,

   21   because I didn't know what it was.      Yale, because I

   22   think he had mentioned that the gentleman was from Yale,

   23   and I just wrote a note saying, Ask Ted, meaning, I

   24   don't know what this is.      Ask Ted, if you want to know

   25   what it is.
Case16:08-cv-00088-LED
             Q    Okay. Document
                        And as far422
                                   as you
                                      Filedknow, did you
                                            10/20/10     do60 of 117 PageID #: 38883
                                                      Page
    2   that?       Did you ask Ted or, you know, perhaps submitted

    3   these notes to someone who was maintaining the minutes?

    4           A      So I believe that Ted proactively sent an

    5   e-mail to -- to myself.          I think he just happened to be

    6   sitting close to me and saw that I was taking notes.

    7   He sent an e-mail to Tim Shaw, who I believe was

    8   collecting the notes, and myself just saying:             Hey,

    9   here's what I meant by that, and I think he sent -- the

   10   text of the e-mail had references to some web URLs.              And

   11   I think -- I think that's what happened.

   12           Q      Okay.     But as far as you recall, you

   13   specifically recall, you don't remember Dr. Gelernter's

   14   name being mentioned at the meeting; is that right?

   15           A      I do not remember his name being mentioned.

   16           Q      All right.     So let me ask you this:     You know,

   17   based on your understanding and your work at -- at

   18   Apple, can you tell me and tell the jury whether your

   19   understanding is, did Scopeware or Dr. Gelernter or any

   20   of Mirror Worlds' ideas or patented technology or

   21   products influence Apple's product development in any

   22   way?

   23           A      Not in any way that I am aware of whatsoever.

   24           Q      Okay.     Thank you.

   25                          MR. SOOBERT:   Pass the witness.
Case16:08-cv-00088-LEDTHE COURT: 422
                        Document  Cross-exam.
                                      Filed 10/20/10 Page 61 of 117 PageID #: 38884
    2                       CROSS-EXAMINATION

    3   BY MR. DIAMANTE:

    4        Q     Good morning, sir.

    5        A     Hi.

    6        Q     I've been requested to speed up and slow down,

    7   and we have not much time, but -- I speak quickly, but

    8   I'll try to get through this.

    9              Now -- so you weren't -- weren't you

   10   appointed, selected -- hand selected by Apple to

   11   investigate Apple's employees?

   12        A     I was appointed to act as a 30(b)(6)

   13   representative for a series of e-mails.

   14        Q     And in common language, you have -- you-all

   15   spoke to some people about e-mails, about Scopeware or

   16   Dr. Gelernter, correct?

   17        A     That's correct.

   18        Q     And let me guess:    No one remembered anything,

   19   correct?

   20        A     For the most part, that is absolutely true.

   21   No one remembered -- remembered any part of it.

   22        Q     So you're like -- so this is Apple

   23   investigating Apple, correct?

   24        A     (No response.)

   25        Q     Is that true?
Case16:08-cv-00088-LED
             A    True. Document 422 Filed 10/20/10 Page 62 of 117 PageID #: 38885

    2        Q    And, sir, how many years have you been at

    3   Apple?

    4        A    22.

    5        Q    And I saw that pretty little timeline you

    6   showed before with V -- is it V-Twin?      I think you

    7   forgot to mention something.

    8                   MR. DIAMANTE:     Can we turn --

    9        Q    (By Mr. Diamante) Did you get an e-mail about

   10   a demonstration, about Scopeware?

   11        A    I did, yes.

   12                   MR. DIAMANTE:     Can I see PTX191, James?

   13        Q    (By Mr. Diamante) This talks about the

   14   prospective demonstration, about Scopeware.        Do you see

   15   that, with Don Lindsay?

   16        A    Correct.

   17        Q    And, sir, weren't you at that demonstration?

   18        A    I'm not sure.     So this came -- we discussed

   19   this in my deposition.     I have a vague recollection of

   20   perhaps being in the room.      I don't really remember the

   21   presentation.

   22             I kind of remember that it was odd in that

   23   someone was doing the presentation via a website but

   24   talking on the phone.     It didn't -- it didn't make much

   25   of an impression.
Case16:08-cv-00088-LED
             Q    By the Document
                         way, on this
                                  422 --Filed
                                          on this  e-mail,
                                              10/20/10     there's
                                                        Page 63 of 117 PageID #: 38886
    2   a Bertrand Serlet.     Do you see that, sir?

    3        A    Yes.

    4        Q    And Scott Forstall?

    5        A    Correct.

    6        Q    They're top people at Apple, aren't they?

    7        A    Sure.

    8        Q    You didn't talk to them about whether --

    9   anything about Scopeware or Dr. Gelernter, did you?

   10        A    I did not.     My understanding was, they were

   11   being deposed, so I didn't talk about it.

   12        Q    So when he -- when Counsel asked you a

   13   question about whether there was any copying of this

   14   man's ideas, you never spoke to the top guys, did you?

   15        A    I did not speak to them because I didn't feel

   16   that I had to in that case.     I don't believe that

   17   Bertrand or Scott participated in that demonstration

   18   whatsoever.

   19        Q    I didn't ask that question.     I asked whether

   20   they knew about Scopeware and Dr. Gelernter.

   21             You never asked them.     You never asked those

   22   gentlemen, did you?

   23        A    I did not.

   24        Q    And, sir, this gentleman who had the demo, Don

   25   Lindsay, wasn't -- didn't he work for you?
Case16:08-cv-00088-LED
             A    Yes, heDocument
                          did.    422 Filed 10/20/10 Page 64 of 117 PageID #: 38887
    2           Q      And you still don't remember anything about

    3   this, do you?

    4           A      No.   I -- as I say, the only thing I remember

    5   is that Don set up some sort of demonstration.         I don't

    6   remember it being noteworthy, and there was no followup

    7   whatsoever, in terms of e-mail, other than Don thanking

    8   for the -- I think the gentleman's name was Randy Prager

    9   that set it up, and thanking him for the presentation.

   10           Q      And let's -- let's go back.    You mentioned the

   11   Merlot meeting.

   12                        MR. DIAMANTE:   Can we go back to your

   13   notes at PTX391?

   14                        I'm sorry.   That's not -- I'm sorry.

   15   Your -- the notes are not -- I don't even need to see

   16   them.       I think it's PTX -- there's too many PTXs here.

   17           Q      (By Mr. Diamante) On your -- on your

   18   handwritten notes, why aren't those notes -- didn't

   19   you -- didn't you previously testify that those notes

   20   were major points discussed at that -- at your meeting?

   21           A      Those notes were capturing what was going on

   22   in terms of the presentation.         So if you look through

   23   those notes, it's about, I would say, five pages' worth

   24   of notes on topics being discussed.

   25           Q      Not to cut you off, sir, but didn't you
Case16:08-cv-00088-LED
        testify that these were the422
                         Document   mainFiled
                                          bullet  pointsPage
                                              10/20/10   discussed
                                                             65 of 117 PageID #: 38888
    2   at that meeting?     Yes or no.

    3        A    I was capturing the main bullet points and the

    4   questions that came up as a result of that.

    5        Q    So Scopeware, Yale, ask Ted was a major bullet

    6   point, correct, sir?

    7        A    No, it was not a major bullet point.      It was a

    8   comment that was made after the presentation was over.

    9                    MR. DIAMANTE:    Can I see his deposition

   10   at Page 114, please?

   11                    You know something?    Don't even bother.

   12   We'll move on.     Let me move on.

   13        Q    (By Mr. Diamante) Now, this gentleman, who you

   14   told us was ask Ted, is Ted Goldstein?

   15        A    I believe so.

   16        Q    Well, did he -- was he a bright man?

   17        A    Yes.

   18        Q    Knowledgeable?

   19        A    He's a smart individual.

   20        Q    Is he -- he worked -- he worked on some of the

   21   accused products, didn't he?

   22        A    Excuse me?

   23        Q    He worked -- he worked on Spotlight?

   24        A    No, he did not.

   25        Q    What products did he work on?
Case16:08-cv-00088-LED
             A    He was Document
                         in the Developer Tools
                                  422 Filed     Group Page
                                            10/20/10  --   66 of 117 PageID #: 38889
    2        Q       Okay.

    3        A       -- so he -- he developed the tools that we

    4   used to build our system, but he had nothing to do with

    5   Spotlight.

    6        Q       But he relayed -- he's the one that relayed

    7   this information, correct, at the meeting?

    8        A       Yes.     It was something that he had seen either

    9   in the news or -- I'm not -- I'm not sure where.         He was

   10   the only one in the room that knew what it meant.

   11        Q       And these -- in your meeting, though, it found

   12   its way to the final notes at Merlot, didn't it?

   13   Your -- didn't it, sir?

   14                        MR. DIAMANTE:   Could I see -- can I see

   15   PTX110 at Page 3?

   16        Q       (By Mr. Diamante) These are the final notes,

   17   correct, sir?

   18        A       These are the final notes.

   19        Q       And did you receive a copy of these notes?

   20        A       I probably did.

   21        Q       And it says:     Yale professor, David Gelernter,

   22   new ways of finding information, correct?

   23        A       Yes.     And that came from an e-mail that Ted

   24   sent outside of the meeting to -- to Tim Schaaff, who

   25   collected these notes.        And instead of having a question
Case16:08-cv-00088-LED
        mark that said: Document
                        Scopeware,422
                                   question  mark, askPage
                                      Filed 10/20/10   Ted,67
                                                            heof 117 PageID #: 38890

    2   substituted in the information that Ted had sent him in

    3   an e-mail.

    4        Q       I get that.

    5                And do you know your -- your -- your company's

    6   trying to cancel this man's rights?           You know that.     You

    7   understand that, don't you, sir?        Do you have that

    8   understanding?

    9        A       I don't know actually what you mean by that.

   10        Q       Right.     And you see the V-Twin there that you

   11   spoke about in that pretty chart, that happened before

   12   2003, correct?

   13        A       Way before.

   14        Q       And that says:     New -- this is 2003.

   15                It says:     New ways of finding info.     How come

   16   you're not talking about V-Twin in this memo?

   17        A       (No response.)

   18                     MR. DIAMANTE:     I have no further

   19   questions.

   20                     MR. SOOBERT:     None here, Your Honor.

   21                     THE COURT:     All right.     Thank you.     You

   22   may step down.

   23                     Who will be your next witness?

   24                     MR. RANDALL:     Your Honor, Apple's next

   25   witness is Randy Prager played by videotape.           He was the
Case16:08-cv-00088-LED
        Chief Technology Document
                         Officer at422
                                    Mirror
                                       FiledWorlds.
                                             10/20/10 Page 68 of 117 PageID #: 38891
    2                     And the time breakdown on that is Apple,

    3   20 minutes and 29 seconds, and Mirror Worlds 3 minutes

    4   and 21 seconds.

    5                     THE COURT:     Okay.   I tell you what, I

    6   think we'll go ahead and take our morning break at this

    7   time.    I have two criminal matters I need to take up at

    8   10:30.

    9                     So, Ladies and Gentlemen of the Jury,

   10   we'll be in recess until 10:45, maybe a little longer

   11   than that, but shouldn't be much.         So enjoy a nice break

   12   this morning, and we'll see you back here at 10:45.

   13                     We'll be in recess until the lawyers can

   14   switch out and get set up.

   15                     COURT SECURITY OFFICER:      All rise.

   16                     (Jury out.)

   17                     (Recess.)

   18                     (Jury out.)

   19                     COURT SECURITY OFFICER:      All rise.

   20                     THE COURT:     Please be seated.

   21                     All right.     Before we bring the jury in,

   22   I understand there's some question about the time.

   23                     MR. RANDALL:     Yes, Your Honor.

   24                     We had for our time yesterday, the total

   25   time that we had used, somewhere -- I think we had 6
Case16:08-cv-00088-LED
        hours and 43 minutes, and that
                         Document 422 was
                                       Filedestimating how much
                                             10/20/10 Page  69 of 117 PageID #: 38892
    2   side-bar time was being charged to us.

    3                     THE COURT:     That you had only used 6

    4   hours, 43 minutes?

    5                     MR. RANDALL:     What's that?

    6                     THE COURT:     That you had only used 6

    7   hours and 43 minutes --

    8                     MR. RANDALL:     Yes, Your Honor.

    9                     THE COURT:     -- at the end of yesterday?

   10                     MR. RANDALL:     Yes, Your Honor.

   11                     THE COURT:     Okay.   And is Plaintiff's

   12   right?

   13                     MR. CARROLL:     You're keeping the time,

   14   Your Honor, and we're not about to say no.

   15                     THE COURT:     All right.     And I had you

   16   down for having used, I think, 7 hours and 50 minutes,

   17   right?

   18                     MR. RANDALL:     Right.     So about, roughly,

   19   an hour off.

   20                     THE COURT:     Okay.   Let me -- I keep some

   21   notes here.     I will go back and look at it, but I see

   22   that you've still got three hours.

   23                     How much do you need?

   24                     MR. RANDALL:     I do need the time.     I

   25   really do.     And I've planned accordingly.
Case16:08-cv-00088-LEDTHE COURT: 422
                        Document  I understand.   Let Page
                                      Filed 10/20/10  me --70
                                                            let
                                                              of 117 PageID #: 38893
    2   me look back.   We did have those sentencings yesterday.

    3   I've been known to let -- forget to turn the clock off,

    4   and that may have happened.      But I think I can

    5   reconstruct it from my notes here and get a good idea.

    6                   MR. RANDALL:     Thank you very much, Your

    7   Honor.

    8                   THE COURT:     All right.   Thank you.

    9                   All right.     Bring the jury in, please.

   10                   COURT SECURITY OFFICER:      All rise for the

   11   jury.

   12                   (Jury in.)

   13                   THE COURT:     Please be seated.

   14                   All right.     Who will be your next

   15   witness?

   16                   MR. RANDALL:     Your Honor, this is going

   17   to be a videotaped deposition of Mr. Randy Prager who

   18   was Mirror Worlds' Chief Technology Officer, and I gave

   19   you the time breakdown previously.

   20                   (Video clip playing.)

   21                   QUESTION:     Would you state your full

   22   name, please?

   23                   ANSWER:     Randy Lee Prager.

   24                   QUESTION:     What role did you assume when

   25   you joined Mirror Worlds?
Case16:08-cv-00088-LEDANSWER: My 422
                        Document  function
                                      Filed primarily was the
                                            10/20/10 Page  71 of 117 PageID #: 38894
    2   technology, Technology Team, managing the Technology

    3   Team, being able to talk about technology during sales,

    4   that kind of thing.

    5                    QUESTION:     Do you have any arrangements

    6   with your lawyers to be paid for time spent on this

    7   case?

    8                    ANSWER:     I did -- I did -- I did do some

    9   consulting work for -- for them in '09 for a couple of

   10   months.

   11                    QUESTION:     And how much money did you --

   12   did you receive?

   13                    ANSWER:     I think roughly -- roughly

   14   30,000 over the course of a couple of months.

   15                    QUESTION:     And the Mirror Worlds'

   16   Lifestreams product utilized the Verity software for

   17   indexing and searching data, correct?

   18                    ANSWER:     I -- I -- I think we used -- to

   19   my recollection, I think we used Verity.       I'm not sure

   20   we used it for indexing per se.       I think we may have

   21   used it for some of their ability to open documents of

   22   various types.

   23                    I think we used Lucene, which was an open

   24   source indexing technology to do the actual indexing.

   25   At least that's my recollection.
Case16:08-cv-00088-LEDQUESTION:
                        Document Did
                                 422 you use10/20/10
                                      Filed   Lucene for the
                                                      Page 72 of 117 PageID #: 38895
    2   UNIX operating systems?

    3                     ANSWER:     I believe we did, yes.

    4                     QUESTION:     All right.    The second

    5   paragraph says:     The original business plan was to

    6   reduce the concept to practice.

    7                     And they are referring there to David

    8   Gelernter's --

    9                     ANSWER:     I read it, okay.

   10                     QUESTION:     -- right?

   11                     ANSWER:     Yeah.   Sure.

   12                     QUESTION:     Do you believe that Mirror

   13   Worlds did reduce Mr. Gelernter's concept to practice?

   14                     ANSWER:     I believe we came very close.

   15                     QUESTION:     And ultimately,

   16   Mr. Gelernter's concept as reduced to practice in

   17   Lifestreams in streams and Scopeware was not successful,

   18   correct?

   19                     ANSWER:     I think it's fair to say it was

   20   not commercially successful.

   21                     QUESTION:     With respect specifically to

   22   the technology, what's your understanding, if any, as to

   23   why that Mr. Gelernter's concept, as implemented in

   24   Scopeware, was not accepted by the marketplace?

   25                     ANSWER:     I think -- here's my feeling on
Case16:08-cv-00088-LED
        this: My personal belief is
                        Document 422theFiled
                                         technology
                                             10/20/10was very
                                                       Page 73 of 117 PageID #: 38896
    2   compelling, was very good.

    3                     I think we were, in many respects, kind

    4   of ahead of the curve a little, but I think a lot of

    5   David's ideas and our products really foretold kind of a

    6   social networking phenomena that we've all seen in the

    7   past five years.     I just think we were a little too

    8   early for the concept -- the concepts to really take

    9   off.     That's my belief.

   10                     QUESTION:     Well, with respect to

   11   Scopeware's use of third-party software to index and

   12   search --

   13                     ANSWER:     Yeah.

   14                     QUESTION:     -- for documents, that

   15   capability --

   16                     ANSWER:     Uh-huh.

   17                     QUESTION:     -- existed in competing

   18   products, correct?

   19                     ANSWER:     Yes.    I believe -- I believe

   20   indexing technology existed in other places.          That's

   21   absolutely true.

   22                     QUESTION:     And so did search technology,

   23   right?

   24                     ANSWER:     Yes.

   25                     QUESTION:     So in the 2000 timeframe and
Case16:08-cv-00088-LED
        beyond, there were plenty of
                         Document 422companies  out there
                                       Filed 10/20/10     that
                                                       Page 74 of 117 PageID #: 38897
    2   had indexing and search capabilities that they were

    3   utilizing, correct?

    4                  ANSWER:     Uh-huh.   That's correct.

    5                  QUESTION:     What added benefit, if any,

    6   did Scopeware provide specifically to the existing

    7   indexing and search capabilities that existed in the

    8   marketplace in 2000 and beyond?

    9                  ANSWER:     Again, my personal belief is

   10   that one of Scopeware's main goals was to kind of change

   11   the paradigm with respect to having these files in

   12   folders and categories to store information; that you

   13   could store information freed from those predefined

   14   categorizations.

   15                  And when you needed to retrieve a

   16   specific piece of information, based on any kind of

   17   criteria, it could be made immediately available to you

   18   in a way that was intuitive, easy access, easy to

   19   understand, so -- and the various things like indexing

   20   and thumbnails and icons and all those other things were

   21   just tools that we would use to accomplish that ultimate

   22   goal.

   23                  QUESTION:     Well, in operation, the

   24   Scopeware application utilized the Microsoft operating

   25   system, correct?
Case16:08-cv-00088-LEDANSWER: It 422
                        Document  was one
                                      Filedof10/20/10
                                               the operating
                                                       Page 75 of 117 PageID #: 38898
    2   systems we used, yes; that's correct.

    3                     QUESTION:     And Scope -- just the simple

    4   use of the Scopeware application did not ensure that the

    5   users would not store and save their documents in the

    6   traditional hierarchy system of files and folders in the

    7   Microsoft operating system, correct?

    8                     ANSWER:     That is correct.   That's

    9   correct.   The users could save things as they had before

   10   and after the use of Scopeware.         We do not force them

   11   not to do that.

   12                     QUESTION:     And when you mentioned that

   13   the Scopeware product allowed for certain searching --

   14                     ANSWER:     Uh-huh.

   15                     QUESTION:     -- and retrieving of

   16   documents, you -- Scopeware could only do so if those

   17   documents were indexed utilizing the third-party

   18   software that was included within Scopeware, correct?

   19                     ANSWER:     That's right.

   20                     QUESTION:     So all of the documents that

   21   existed on a computer or that were created on other

   22   computers and sent to a computer --

   23                     ANSWER:     Uh-huh.

   24                     QUESTION:     -- if they weren't indexed at

   25   some point utilizing the third-party software that
Case16:08-cv-00088-LED
        Mirror Worlds included in Scopeware,
                         Document            then Scopeware
                                  422 Filed 10/20/10  Page 76 of 117 PageID #: 38899
    2   would have no ability to search for those documents,

    3   right?

    4                     ANSWER:     That is correct.

    5                     QUESTION:     Let me direct your attention

    6   to the top of Page 2 of Mr. Weil's obituary memorandum.

    7                     And it states:     In short, after six years

    8   and close to 20 million in funding, the ideas advanced

    9   by Mirror Worlds have failed to gain any significant

   10   attraction in the marketplace either through

   11   partnerships or direct distribution.

   12                     Do you see that?

   13                     ANSWER:     Yes, sir.

   14                     QUESTION:     There's nothing in there that

   15   you disagree with, correct?

   16                     ANSWER:     No.

   17                     QUESTION:     So you specifically recall at

   18   one of these meetings involving Apple, being in Mike's

   19   office -- Mike Satow's office --

   20                     ANSWER:     Yes.

   21                     QUESTION:     -- using WebEx, providing a

   22   PowerPoint presentation, and then doing a demo of the

   23   product, right?

   24                     ANSWER:     Yes.

   25                     QUESTION:     How many slides were in the
Case16:08-cv-00088-LED
        PowerPoint presentation?
                         Document 422 Filed 10/20/10 Page 77 of 117 PageID #: 38900
    2                     ANSWER:     I don't remember.

    3                     QUESTION:     10, 20, 30, 50?

    4                     ANSWER:     You know, I would suspect it's

    5   like 10.

    6                     QUESTION:     But you're guessing?

    7                     ANSWER:     I'm guessing.     I know it was not

    8   long, you know.

    9                     QUESTION:     How long was the entire

   10   conference call?

   11                     ANSWER:     I don't remember.

   12                     QUESTION:     You never met with anyone at

   13   Apple in person, correct?

   14                     ANSWER:     No.

   15                     QUESTION:     To your knowledge, neither you

   16   nor anyone else at Mirror Worlds ever met in person with

   17   anybody from Apple to discuss anything to do with Mirror

   18   Worlds, correct?

   19                     ANSWER:     That's correct.

   20                     QUESTION:     How long did this conference

   21   call last?

   22                     ANSWER:     I -- I don't remember.

   23                     QUESTION:     Who else was present in that

   24   office with you and Mr. Satow?

   25                     ANSWER:     I don't -- I don't remember if
Case16:08-cv-00088-LED
        anybody else was Document
                         there.   422 Filed 10/20/10 Page 78 of 117 PageID #: 38901
    2                  QUESTION:     You don't remember the

    3   features of the product that were demoed?

    4                  ANSWER:     Not specifically, but I can

    5   talk, if you want, about how we generally would do

    6   demos.

    7                  QUESTION:     No.   I'm just interested in

    8   your specific recollection of this meeting.

    9                  Who was on the conference call from

   10   Apple?

   11                  ANSWER:     I don't remember the -- the

   12   names from the other side.

   13                  QUESTION:     How many people spoke on the

   14   Apple side during the meeting?

   15                  ANSWER:     I -- I don't -- I don't remember

   16   how many.

   17                  QUESTION:     Did you take any notes of the

   18   meeting?

   19                  ANSWER:     I don't remember.   It's

   20   possible.

   21                  QUESTION:     Did Mike take any notes of the

   22   meeting?

   23                  ANSWER:     Again, I don't know.

   24                  QUESTION:     What questions, if any, did

   25   Apple ask?
Case16:08-cv-00088-LEDANSWER: I couldn't
                        Document 422 Filedrecall specifics.
                                           10/20/10  Page 79 of 117 PageID #: 38902
    2                  QUESTION:     I was just asking about do you

    3   have any specific recollection of any questions that

    4   they asked?

    5                  ANSWER:     No.

    6                  QUESTION:     Do you have any specific

    7   recollection of any questions that you or Mike asked to

    8   Apple?

    9                  ANSWER:     No.

   10                  QUESTION:     Do you have any specific

   11   recollection of whether the term patent or patents was

   12   even mentioned during this meeting?

   13                  ANSWER:     I have a specific recollection

   14   that we, in the context of all these kinds of meetings,

   15   would reference that we had a patent on what we were

   16   doing.

   17                  QUESTION:     Again, I am not interested in

   18   what you generally would do.     I'm interested in your

   19   specific recollection of this meeting, and that's what

   20   I'm entitled to here.

   21                  Do you specifically recall one way or the

   22   other whether the words patent or patents were mentioned

   23   or to the effect were mentioned during this meeting?

   24                  ANSWER:     I would -- I would say -- I

   25   would say --
Case16:08-cv-00088-LEDQUESTION:
                        Document Go
                                 422ahead.
                                      Filed 10/20/10 Page 80 of 117 PageID #: 38903
    2                  ANSWER:     I would say yes.

    3                  QUESTION:     When you say I would say yes,

    4   you are assuming that that was mentioned, correct?

    5                  ANSWER:     I'm telling you my specific

    6   recollection is that at that meeting, we would -- we did

    7   everything we normally do at those kinds of meetings,

    8   and part of that was talking about our patent.

    9                  QUESTION:     Sir, I'm not asking you what

   10   you normally did and that you assume that you followed

   11   normal procedure.   I'm not asking that.

   12                  ANSWER:     Yes.

   13                  QUESTION:     I don't want -- I don't want

   14   you to tell me who it would have been.        Did you -- did

   15   you --

   16                  ANSWER:     I -- I do not remember uttering

   17   the word patent.

   18                  QUESTION:     Okay.   And you don't

   19   specifically recall Mr. Satow mentioning patents either,

   20   do you?

   21                  ANSWER:     No.

   22                  QUESTION:     Okay.   So you don't

   23   specifically recall either yourself or Mr. Satow

   24   mentioning Mirror Worlds' patents, right?

   25                  ANSWER:     No.
Case16:08-cv-00088-LEDQUESTION:
                        Document You
                                 422 don't
                                      Filed have a specific
                                            10/20/10  Page 81 of 117 PageID #: 38904
    2   recollection sitting here today of the -- of the words

    3   patents or to those -- to that effect, listed in the

    4   PowerPoint, correct?

    5                  ANSWER:     The PowerPoints we give at those

    6   meetings always said patent.        That's my recollection,

    7   you know.

    8                  QUESTION:     Again, I'm not -- I'm not

    9   interested in what you usually did and whether you --

   10   you think you may have followed that procedure in this

   11   instance.

   12                  I asked you earlier if you could recall

   13   how many pages were in the PowerPoint, and you couldn't,

   14   correct?

   15                  ANSWER:     Correct.

   16                  QUESTION:     And you're not going to tell

   17   me that now under oath that you can specifically recall

   18   that PowerPoint that was displayed to Apple --

   19                  ANSWER:     Right.

   20                  QUESTION:     -- mentioning patents, right?

   21                  ANSWER:     Right.     Correct.

   22                  QUESTION:     Mr. Prager, when was this

   23   conference call with Apple?

   24                  ANSWER:     I believe it was like either

   25   September -- it was in the fall, maybe September,
Case16:08-cv-00088-LED
        October, November, something
                         Document 422like that.
                                       Filed 10/20/10 Page 82 of 117 PageID #: 38905
    2                     QUESTION:     What year?

    3                     ANSWER:     I -- I don't remember exactly.

    4   Maybe 2000, 2001, or 2002.        I don't remember.    I do

    5   remember it was the fall.

    6                     QUESTION:     You worked at Mirror Worlds

    7   from 2000 to 2002.

    8                     ANSWER:     Right.

    9                     QUESTION:     Can you give me any better

   10   timeframe than that?

   11                     ANSWER:     I -- I -- it was 2 -- I don't

   12   remember.     I'm sorry.

   13                     QUESTION:     All right.

   14                     ANSWER:     I don't remember.

   15                     QUESTION:     That's fine.

   16                     Do you recall during the meeting Apple

   17   mentioning that they had existing indexing and search

   18   capability?

   19                     ANSWER:     I don't recall that.    I don't

   20   recall that.

   21                     QUESTION:     Was there any purpose that you

   22   can recall --

   23                     ANSWER:     Uh-huh.

   24                     QUESTION:     -- to this call with Apple,

   25   other than to try to attempt to sell them Lifestreams
Case16:08-cv-00088-LED
        applications?  Document 422 Filed 10/20/10 Page 83 of 117 PageID #: 38906
    2                     ANSWER:     No.     We were just trying to sell

    3   our technology.

    4                     QUESTION:     All right.       That was the sole

    5   and exclusive purpose of the call?

    6                     ANSWER:     Yeah, yeah.       We wanted to do a

    7   deal with as many people as we could and get money out

    8   of the company, yeah.

    9                     QUESTION:     You mentioned another meeting

   10   with Apple wherein Mirror Worlds attempted to sell

   11   Lifestreams to Apple, correct?           You said there were two

   12   meetings?

   13                     ANSWER:     Yeah.     Yeah.    I think there

   14   is -- again, my recollection is there was a second

   15   meeting where it was, I believe, just me on the phone

   16   with one or more of folks at Apple.             I don't remember

   17   specifics other than I believe it was just about more

   18   along technology lines.

   19                     QUESTION:     So when you say that there

   20   were two meetings, there were actually two conference

   21   calls, right?

   22                     ANSWER:     Yes, right.       Yeah, sure.

   23                     QUESTION:     Okay.     So you've described the

   24   first conference call.        When -- when in relation to the

   25   first conference call did the second conference call
Case16:08-cv-00088-LED
        take place?    Document 422 Filed 10/20/10 Page 84 of 117 PageID #: 38907
    2                      ANSWER:     I believe it was a couple of

    3   weeks after.

    4                      QUESTION:     How long did this second

    5   conference call last?

    6                      ANSWER:     I don't remember.   I don't

    7   remember it being long.

    8                      QUESTION:     Who was on it from Mirror

    9   Worlds' side?

   10                      ANSWER:     I believe it was just me.

   11                      QUESTION:     And that was a follow-up to

   12   Mirror Worlds' efforts to sell Lifestreams applications

   13   to Apple?   Yes?

   14                      ANSWER:     It was a follow-up to the

   15   original meeting.

   16                      QUESTION:     Where were you physically when

   17   you had that call?

   18                      ANSWER:     In my office.

   19                      QUESTION:     Did you make the call, or did

   20   you receive the call?

   21                      ANSWER:     I don't remember.

   22                      QUESTION:     Do you recall, during this

   23   second conference call, that Mr. Lindsay explained that

   24   Apple had existing indexing and search capabilities?

   25                      ANSWER:     I -- I don't -- I don't recall
Case16:08-cv-00088-LED
        that.          Document 422 Filed 10/20/10 Page 85 of 117 PageID #: 38908
    2                    QUESTION:     Prior to Mirror Worlds'

    3   efforts to sell Apple Lifestreams applications, what

    4   efforts, if any, did Mirror Worlds undertake to learn

    5   what existing indexing and search capabilities Apple's

    6   operating system or other applications already had?

    7                    ANSWER:     My -- my focus and a lot of what

    8   we would do in prep for these meetings had less to

    9   do with -- to be honest, I didn't care whether or not

   10   they had index and search.

   11                    To me, that was not a core component.       It

   12   was necessary, but for me, the real important stuff was

   13   like the visual interface and stream concept.

   14                    So I often didn't focus that much on

   15   whether or not those systems had indexing and search.

   16   I -- I remember when Microsoft came out, I think it was

   17   in -- in Windows 2000, a later operating system, they

   18   did have indexing.    It was good news for me.     I liked

   19   it.   We didn't have to bundle in a third-party product

   20   at that point.

   21                    QUESTION:     What specifically did you say

   22   during this second call with Mr. Lindsay?

   23                    ANSWER:     I -- I can't recall

   24   specifically.

   25                    QUESTION:     What specifically did
Case16:08-cv-00088-LED
        Mr. Lindsay tell Document
                         you during422
                                    thatFiled
                                          call?
                                              10/20/10 Page 86 of 117 PageID #: 38909
    2                  ANSWER:     I can't recall specifically.

    3                  QUESTION:     What generally did you say and

    4   what generally did Mr. Lindsay say, if you can recall?

    5                  ANSWER:     Yeah.     You mean generally?

    6                  QUESTION:     I don't want you guess or

    7   speculate or assume.     I want you to do it based on

    8   your -- on your independent and specific recollection.

    9                  ANSWER:     Specifically, I don't recall

   10   anything.

   11                  QUESTION:     Do you recall generally what

   12   you said and what he said?

   13                  ANSWER:     Other than generally, the call

   14   was about technology.     That would -- that would be it.

   15                  QUESTION:     Okay.

   16                  ANSWER:     I definitely remember that they

   17   did not move ahead with us.        I'm not sure why or -- you

   18   know.

   19                  MR. RANDALL:        I'll mark for

   20   identification as Exhibit 14 an e-mail exchange between

   21   Mr. Lindsay and Mr. Prager, dated October 24, 2001, and

   22   Mr. Prager's response on the same date.

   23                  QUESTION:     I'm showing you an e-mail

   24   string between you and Mr. Lindsay, Mr. Prager.

   25                  ANSWER:     Okay.
Case16:08-cv-00088-LEDQUESTION:
                        Document Do
                                 422youFiled
                                         see 10/20/10
                                              the e-mail on 87
                                                       Page theof 117 PageID #: 38910

    2   bottom of the first page?

    3                    ANSWER:     Yep.

    4                    QUESTION:     It is from Mr. Lindsay to you,

    5   dated October 24, 2001.       And it's regarding Mirror

    6   Worlds' follow-up.

    7                    Do you see that?

    8                    ANSWER:     Yes, I've got it.

    9                    QUESTION:     Did you receive this e-mail

   10   from Mr. Lindsay on or about October 24, 2001?

   11                    ANSWER:     Yes.

   12                    QUESTION:     And he states -- Mr. Lindsay

   13   states to you:    Hi, Randy.        After some discussion, we

   14   have decided to not pursue this further.          We are going

   15   to continue to refine our existing index and file

   16   searching technologies.

   17                    Do you see that?

   18                    ANSWER:     Yep, I've got it.

   19                    QUESTION:     Does that refresh your

   20   recollection that, in fact, Apple did inform Mirror

   21   Worlds that one of the reasons why it was not going to

   22   pursue the discussions with Mirror Worlds any further

   23   regarding Lifestreams was because Apple was going to

   24   continue to refine their existing indexing and file

   25   searching technologies?
Case16:08-cv-00088-LEDANSWER: True.
                        Document 422 Filed 10/20/10 Page 88 of 117 PageID #: 38911
    2                    QUESTION:     And you wrote back on the same

    3   day, shortly thereafter to Mr. Lindsay and said:       Sounds

    4   good.   If there's anything you wish to inquire about the

    5   future, please don't hesitate to call.

    6                    Right?

    7                    ANSWER:     Yes.

    8                    QUESTION:     Other than these two calls

    9   that you've already described and this e-mail exchange,

   10   do you recall any other communications between Apple and

   11   Mirror Worlds?

   12                    ANSWER:     No.

   13                    QUESTION:     And other than what you've

   14   testified, is there any other information relating to

   15   those calls or any communications between Apple and

   16   Mirror Worlds that you haven't already provided

   17   testimony on?

   18                    ANSWER:     No.

   19                    QUESTION:     Or described?

   20                    ANSWER:     No.

   21                    QUESTION:     Have we exhausted your memory

   22   with respect to these communications, sir?

   23                    ANSWER:     Yes, sir.

   24                    MR. RANDALL:       I'll mark for

   25   identification as Exhibit 16 an e-mail string consisting
Case16:08-cv-00088-LED
        of two pages, ending in Bates-stamp
                         Document 422 Filed Nos. NV8616
                                            10/20/10    and89 of 117 PageID #: 38912
                                                      Page
    2   starting at 8615.

    3                   QUESTION:     Third paragraph, Mr. Gelernter

    4   discusses the slide show problem.

    5                   Do you see that?

    6                   ANSWER:     Yes.

    7                   QUESTION:     And he states:      I want the

    8   slides laid out in a stream for the usual reasons.

    9   Foreshortened display is a natural visual shorthand.

   10   Lets me see a lot in a little space.       Browse works

   11   right.   Search lets me find what I want, but in the

   12   mainstream, slides are mixed up in random order.           I may

   13   develop Slide 1 last, Slide 50 first.

   14                   Do you see that?

   15                   ANSWER:     Yes, got it.   Yes.

   16                   QUESTION:     And then he goes on to state

   17   two paragraphs down from there:      This is the way to

   18   store online portions in stream format.        A course,

   19   series of lectures, assignments, et cetera wants to be a

   20   stream but a logical and not chronological one.          Huge

   21   topic.

   22                   You see that?

   23                   ANSWER:     Yep.

   24                   QUESTION:     What's the problem with the

   25   implementation of the mainstream that Mr. Gelernter's
Case16:08-cv-00088-LED
        discussing here in his e-mail?
                         Document 422 Filed 10/20/10 Page 90 of 117 PageID #: 38913
    2                     ANSWER:     It -- it seems to me he's

    3   contemplating the problem of showing the stream in a

    4   time -- time series.

    5                     QUESTION:     And specifically, what he's

    6   referring to is that if you create a set of slides out

    7   of order --

    8                     ANSWER:     Uh-huh.

    9                     QUESTION:     -- that they're going to be

   10   stored out of order in the mainstream, right?

   11                     ANSWER:     Yeah.

   12                     QUESTION:     And that if you have a slide

   13   show or a series of lectures, assignments, expense

   14   reports that are created in a different order --

   15                     ANSWER:     Uh-huh.

   16                     QUESTION:     -- then that's going to appear

   17   in the mainstream.     It will not be a logical

   18   representation of the documents, correct?

   19                     ANSWER:     Yeah.

   20                     QUESTION:     And he says that's a huge

   21   problem, right?

   22                     ANSWER:     Yeah.

   23                     QUESTION:     It's the last thing he says.

   24                     ANSWER:     Yes.

   25                     QUESTION:     He says:   It could be a very
Case16:08-cv-00088-LED
        powerful and general addition;
                         Document 422 could   solve a lot
                                       Filed 10/20/10     of91 of 117 PageID #: 38914
                                                       Page
    2   problems?

    3                     ANSWER:     Uh-huh.

    4                     QUESTION:     Do you see that?

    5                     ANSWER:     Yeah, I see that.

    6                     QUESTION:     He's trying the solve a lot of

    7   problems that are created by storing documents in a

    8   chronological rather than logical way, correct?

    9                     ANSWER:     Right.

   10                     QUESTION:     And that is a function of

   11   utilizing Gelernter's mainstream concept, correct?

   12                     ANSWER:     Uh-huh.

   13                     QUESTION:     Is that a yes?

   14                     ANSWER:     Yes.     Yes.   Sorry.

   15                     QUESTION:     Directing your attention to

   16   the next e-mail, this is also from Mr. Gelernter, dated

   17   March 26, 2001.     The subject is designer streams.

   18                     Do you see that?

   19                     ANSWER:     Yes.

   20                     QUESTION:     He says:      Let's say you have a

   21   logical instead of chronological collection; for

   22   example, an address book, help system, jukebox.            You

   23   want the separate elements to be members of the stream.

   24   No elements of a multi-part document.

   25                     Do you see that?
Case16:08-cv-00088-LEDANSWER: Yes.
                        Document 422 Yes,
                                      FiledI've got it.
                                            10/20/10  Page 92 of 117 PageID #: 38915
    2                  QUESTION:     Then it goes on to state, two

    3   paragraphs down, in the last sentence:

    4                  ANSWER:     Uh-huh.

    5                  QUESTION:     We'd solve the travel form

    6   problem and the business plan problem and lots of other

    7   problems, too; e.g., the jukebox, slide show, brochure,

    8   and book problems.

    9                  Do you see that?

   10                  ANSWER:     Yes.

   11                  QUESTION:     He's identifying lots of

   12   problems that are created by the use of his mainstream

   13   concept, correct?

   14                  ANSWER:     Yes.

   15                  (End of video clip.)

   16                  THE COURT:     All right.    I did not get

   17   your time on that.   What was the total time and how was

   18   it split for Mr. Prager?

   19                  Excuse me?

   20                  MR. RANDALL:       Mr. Prager -- again,

   21   Mr. Prager was 23 minutes -- total time, 23 minutes, 50

   22   seconds, and split up by Apple, 20 minutes, 29 seconds;

   23   and Mirror Worlds, 3 minutes, 21 seconds.

   24                  THE COURT:     All right.    Very well.

   25                  All right.     Who will your next witness
Case16:08-cv-00088-LED
        be?            Document 422 Filed 10/20/10 Page 93 of 117 PageID #: 38916
    2                   MR. RANDALL:     Our next witness, Your

    3   Honor, is Mr. Peter Lucas.

    4                   THE COURT:     Okay.     Counsel, if you will

    5   approach, please.

    6                   (Bench conference off the record.)

    7                   THE COURT:     I did detect an error on my

    8   time for you.   I'm going to put 45 minutes back on.

    9                   MR. RANDALL:     Okay.     Thank you, Your

   10   Honor.

   11                   (Bench conference concluded.)

   12                   THE COURT:     Has this witness been sworn?

   13                   MR. SOOBERT:     No, he hasn't, Your Honor.

   14                   THE COURT:     All right.     Please raise your

   15   right hand and repeat after me.

   16                   (Witness sworn.)

   17                   THE COURT:     All right.     Thank you.     Be

   18   seated.

   19                   MR. STEIN:     Your Honor, we have an

   20   objection to some of his testimony.

   21                   May I approach?

   22                   THE COURT:     All right.

   23                   (Bench conference.)

   24                   MR. STEIN:     Your Honor, Mr. Lucas will be

   25   testifying to things that are outside the four corners
Case16:08-cv-00088-LED
        of the prior art Document
                         that Apple422
                                    is relying  upon, and
                                       Filed 10/20/10     we94 of 117 PageID #: 38917
                                                       Page
    2   think that's inappropriate.

    3                   In addition, he was deposed after Apple's

    4   expert submitted his report in this matter, and,

    5   therefore, Apple's expert has now relied on the

    6   testimony of -- has not relied on the testimony of

    7   Mr. Lucas in his report.

    8                   So our request is that, you know, if

    9   he -- if he goes beyond the four corners of the

   10   references, that if he's going to be discussing that, it

   11   should be excluded, and Apple's counsel should be

   12   limited to that.

   13                   MR. SOOBERT:     Your Honor, we disagree

   14   with that.   His testimony is relevant to a number of

   15   issues.   He's going to speak to the system that's in

   16   public use, not just printed publications and articles.

   17                   It's relevant to non-infringing

   18   alternatives, the scope and content of the prior art,

   19   obviousness, and the like.      And so he can testify -- it

   20   doesn't -- we disagree with the characterization of our

   21   expert's report.   He certainly addresses the printed

   22   publications and articles.

   23                   THE COURT:     The objection's overruled.

   24                   (End of bench conference.)

   25                   THE COURT:     Counsel approach, please.
Case16:08-cv-00088-LED(Bench conference.)
                        Document 422 Filed 10/20/10 Page 95 of 117 PageID #: 38918
    2                       THE COURT:   I am making it without

    3   prejudice to you raising your objection during any

    4   objection in the course of his testimony, but your

    5   objection is so general there's no way that I can rule

    6   on it.    And I think, generally, it's not well-taken, but

    7   if you want to raise it on a particular item that you --

    8   it's without prejudice to you doing that.

    9                       MR. STEIN:   Thank you.

   10                       (Bench conference concluded.)

   11    PETER ANTHONY LUCAS, Ph.D., DEFENDANTS' WITNESS, SWORN

   12                           DIRECT EXAMINATION

   13   BY MR. SOOBERT:

   14        Q      Good morning, Dr. Lucas.

   15        A      Good morning.

   16        Q      Can you state your full name for the record,

   17   please?

   18        A      Peter Anthony Lucas.

   19        Q      Okay.     And where do you live?

   20        A      I live this Pittsburgh, Pennsylvania.

   21        Q      And could you just describe your educational

   22   background since high school briefly?

   23        A      Yeah.     I'm an educational psychologist by

   24   background.    I went to Penn State University as an

   25   undergraduate, and I also got a master's degree there,
Case16:08-cv-00088-LED
        and I got my Ph.D. from Cornell.
                         Document 422 Filed 10/20/10 Page 96 of 117 PageID #: 38919
    2        Q    Okay.     And where do you work now?

    3        A    At my design company --

    4        Q    When --

    5        A    -- that I co-founded in Pittsburgh.

    6        Q    I'm sorry.     When did you found that company?

    7        A    Late 1989.

    8        Q    1989?     And you've worked there continuously

    9   since that timeframe?

   10        A    That's correct.

   11        Q    Okay.     And when you were working at MAYA

   12   Design, were you -- what were some of the first early

   13   projects you worked on, perhaps the first one?

   14        A    Well, we founded the company on the basis of a

   15   large contract that we were fortunate enough to get from

   16   a company called Digital Equipment Corporation, which at

   17   the time was a very large computer company.

   18             And the project was called Workscape, and it

   19   was in the space of office document management systems.

   20        Q    Okay.     And was one of the goals of that

   21   project to deal with vast amounts of information on a

   22   computer, you know, where users might be able to search

   23   for and locate, find documents; if they have a problem,

   24   where's my stuff on the computer?     Is that one of the

   25   focuses and goals of Workscape?
Case16:08-cv-00088-LED
             A    Yeah, very much so.
                         Document 422 Filed 10/20/10 Page 97 of 117 PageID #: 38920
    2                The -- the -- when we did our initial research

    3   for Digital -- and this was at a time when people were

    4   just starting to -- to figure out how to use computers

    5   productively in the office.

    6                And we -- we studied a lot of offices, and we

    7   discovered that people were having a real -- real

    8   problem organizing information, because it was coming in

    9   in many different forms.      There were faxes; there were

   10   spreadsheets; there were e-mails; there were scanned

   11   documents.

   12                And the goal of Workscape was to design a

   13   single user interface that would allow ordinary office

   14   workers to -- to find what they were looking for in all

   15   of this mess in an efficient way.

   16        Q       Okay.   Now, did you publicly display or

   17   present any papers, articles, videos about that system

   18   in that timeframe, roughly?

   19        A       Well, at first, we couldn't, because it was

   20   proprietary.     But then in late 1993, we were given

   21   permission by -- by our client to write several papers

   22   and to -- to present them at a large industry conference

   23   called CHI, which stands for -- C-H-I.       It stands for

   24   Computer Human Interaction.

   25        Q       Okay.   And that was in 1994?
Case16:08-cv-00088-LED
             A    Yes. The conference
                        Document 422 was
                                      Filedin10/20/10
                                               '94.   Page 98 of 117 PageID #: 38921
    2        Q    Okay.     And is that a well-attended conference?

    3             Is it popular with your colleagues and other

    4   folks working in the field?

    5        A    Very much so.     At least at the time, it was

    6   clearly the premiere conference.      It attracted people

    7   from both industry and the academic world.

    8             And pretty much anybody who was doing serious

    9   work in that area would -- would attend or at least pay

   10   attention to the -- to the proceedings of that

   11   conference.

   12        Q    Okay.     Now, did you also apply for and

   13   describe and you actually obtained a patent on the

   14   features that were in the Workscape system?

   15        A    A number of patents.      In fact, I think

   16   ultimately eleven were issued about the Workscape work.

   17                     MR. SOOBERT:   Diane, can you bring up

   18   DX175, please?     Just blow up that top there.

   19        Q    (By Mr. Soobert) Is this one of your patents,

   20   Dr. Lucas, one of the eleven you mentioned?

   21        A    Yes, it is.

   22        Q    Okay.     And this patent right here is known as

   23   the '330 patent, the last three digits of the patent?

   24        A    Yes.     Yes.

   25        Q    Okay.     And it was filed in September of 1993?
Case16:08-cv-00088-LED
             A    That's Document
                         correct. 422 Filed 10/20/10 Page 99 of 117 PageID #: 38922

    2        Q    Okay.     And issued in 1996, March of 1996,

    3   right?

    4        A    Yep.

    5        Q    All right.     Let's go back to the -- this --

    6   you know, the early 1990 timeframe when you were working

    7   on this patent application and presenting these papers

    8   publicly about the Workscape system.

    9             I want to focus on some of the videos that

   10   were displayed in that time.

   11                     MR. SOOBERT:   Diane, can you play Clip

   12   DX135?

   13                     (Video playing.)

   14                     (Video stopped.)

   15        Q    (By Mr. Soobert) Okay.      Now, Dr. Lucas, is

   16   that one of the videos that was publicly displayed at

   17   the CHI '94 conference in 1994?

   18        A    It was a section, an excerpt from one of

   19   those -- from that video, yes.

   20        Q    Okay.     So there's a -- this is an excerpt of a

   21   much longer video that includes additional features

   22   about the system as well?

   23        A    That's correct.

   24        Q    Okay.     And now, we saw on that video the -- a

   25   number of demonstrations of features, including these
Case 16:08-cv-00088-LED
         document representations, I believe,
                         Document 422          that werePage
                                        Filed 10/20/10   displayed
                                                             100 of 117 PageID #: 38923
     2   on the -- on the screen; is that right?

     3        A    Correct.

     4        Q    Okay.    Now, those document representations,

     5   those -- those appeared to me to be receding into the

     6   screen and actually foreshortened in the sense that

     7   they're getting smaller; is that correct?

     8        A    Yes.    The -- one of -- one of the main ideas

     9   of Workscape was to use the third dimension of the

    10   screen as a place so that we could locate and visualize

    11   larger numbers of documents.

    12        Q    Okay.    And so you had an expertise in MAYA --

    13   in the MAYA group and this project of, you know,

    14   creating these types of 3-D images in piles like that;

    15   is that right?

    16        A    That's correct.

    17        Q    Okay.    And could I put these document

    18   representations, all the documents in the system, if I

    19   wanted to, in a single, you know, stack or stream on the

    20   screen?

    21        A    Yes, you can.

    22        Q    And was it possible to put that stack of all

    23   of my documents in the system in a time-ordered stream,

    24   presenting them with perhaps the oldest ones in the far

    25   back that are fading way into the screen and then the
Case 16:08-cv-00088-LED
         newer ones towardDocument
                           the front andFiled
                                   422   perhaps  ones that
                                              10/20/10 Page are
                                                            101 of 117 PageID #: 38924
     2   yet to be coming from the future in the front?

     3        A      Yes.     That was a very typical thing to do.

     4        Q      Okay.     And is that how that system operated,

     5   actually?

     6        A      Yes.

     7        Q      Okay.     And when was that software -- I know

     8   the video was displayed at the conference in 1994, but

     9   the software itself that's in there was before that,

    10   right?

    11        A      This particular demonstration that you just

    12   saw was written in 1990.       In fact, I specifically

    13   remember I was working on it over the 4th of July

    14   weekend, so it was July 1990.

    15        Q      All right.     And when I said all documents and

    16   document representations, I mean, I was talking about

    17   things like, you know, faxes and letters and various

    18   document -- document types that are handled by the

    19   system, like any type of diverse document.        It could do

    20   that, right?

    21        A      Correct.

    22        Q      Okay.     All right.

    23                       MR. SOOBERT:   Diane, let's play the CHI

    24   video, DX922.

    25                       (Video playing.)
Case 16:08-cv-00088-LED (Video stopped.)
                         Document  422 Filed 10/20/10 Page 102 of 117 PageID #: 38925
     2        Q       (By Mr. Soobert) Okay.   Dr. Lucas, can you

     3   just explain for us again what that find tool is and

     4   what it does?

     5        A       The idea of tools in Workscape was that

     6   different capabilities would be packaged in -- in -- in

     7   objects on the screen that would perform different

     8   functions.

     9                The purpose of the find tool was to go out to

    10   a data repository where the -- where the documents

    11   themselves were stored, search by a criterion or

    12   bring -- the criterion could be everything or a subset

    13   of the documents, and to bring those documents in and

    14   then stack them in some order, typically, but not

    15   necessarily by date.

    16        Q       Okay.   And was one of the aspects of this

    17   technology to kind of get rid of files and folders or at

    18   least put them under the surface so the user didn't have

    19   to worry about them and could find these things in a

    20   really easy and intuitive way?

    21        A       Yeah.   That was a big part of the initial goal

    22   that I described.      We wanted to not bother the user with

    23   all of these distinctions between file types and how

    24   they were stored.      Everything was presented to the user

    25   just in the form of -- of a document, and it didn't
Case 16:08-cv-00088-LED
         matter where it came from.422 Filed 10/20/10 Page 103 of 117 PageID #: 38926
                         Document
     2          Q    Okay.   Now, let's say some of those documents,

     3   or all of them, for that matter, are stored in a

     4   repository, you know, some other system or a server,

     5   something that stores documents, okay?

     6               Are you following me?

     7          A    Yes.

     8          Q    Okay.   Is there a possible -- was it possible

     9   in Workscape to do a search of all those documents and

    10   actually retrieve those documents and present them to

    11   the users so I could see the entire set of documents

    12   that were on that repository?

    13          A    Yes.

    14          Q    Okay.   And how might I do that with the

    15   Workscape system?

    16          A    Well, that's exactly what the -- what the find

    17   tool did.    You could search by any criterion, including

    18   what's called the wild card search, that basically is a

    19   search that matched anything.

    20               So if you did a wild card search on the

    21   documents in a repository, you would basically get them

    22   all.

    23          Q    Okay.   And now, let's say I returned or I

    24   retrieved all those documents using the wild card

    25   search, but I said, oh, gosh, I've got a lot of
Case 16:08-cv-00088-LED
         documents here, and I want422
                         Document   to create  a subset Page
                                        Filed 10/20/10   of them
                                                             104 of 117 PageID #: 38927
     2   and filter them perhaps, you know, based on any number

     3   of criteria, like somebody who authored the document,

     4   something in the content.

     5             Could I create a sub sort of stream of those

     6   document representations?

     7        A    Yes.    There was a tool -- in fact, it was

     8   the -- the capability that was prototyped in the first

     9   video that you showed where there was a date slider

    10   where you -- where the user would be able to slide in

    11   two little pointers to specify a period of time.

    12             And what that would do is, it would

    13   temporarily hide or move the subset of the documents

    14   that aren't between those two dates.

    15             So it made it very easy -- if the user had a

    16   rough idea of when a document was created, it made it

    17   very easy for the user to focus his or her

    18   attention on -- on just that range of dates.

    19        Q    Okay.    And let's say I've created those --

    20   those substreams or strands, I believe they say in your

    21   patent, or stacks -- those are all the same terminology,

    22   right?

    23        A    Yes.

    24        Q    All right.    And let's say I've created those,

    25   and I don't want to now start remembering where to put
Case 16:08-cv-00088-LED
         things.        Document 422 Filed 10/20/10 Page 105 of 117 PageID #: 38928
    2                Could the system automatically update those

    3   stacks as new documents are generated or received?

    4        A       Yeah.    There were a couple of ways to do that.

    5   The find tool had a feature that would cause it to

    6   basically do its search continuously.

    7                So if a new document appeared in the

    8   repository, it would automatically come in, and it would

    9   be inserted in its appropriate place in the strand,

   10   pushing back the other documents to make room.

   11                It was also possible to write a script.

   12   Workscape had a scripting language, much the way a

   13   spreadsheet does, that allows the user to customize the

   14   behavior.     So it would be very easy to make a script

   15   that would perform functions like that automatically.

   16        Q       Okay.    And the technical term or one way to

   17   say that in a technical term is that those searches and

   18   sub-searches were persistent?

   19        A       That's right.

   20        Q       Okay.    All right.   Now, just a couple of other

   21   questions.

   22                Now, could I copy a document from one

   23   repository to another through the Workscape system?

   24        A       Yes.    There was another one of these tools

   25   that I've been describing that was called the copy tool.
Case 16:08-cv-00088-LED
         And if you dropped the document
                         Document        -- if
                                   422 Filed   you would
                                             10/20/10    drag
                                                      Page 106a of 117 PageID #: 38929
     2   document and drop it on the copy tool, it would make a

     3   copy, another instance of that document.

     4             And one of the features of the -- of the copy

     5   tool was that you could -- the user could specify which

     6   repository that copy was to be moved to.     So,

     7   effectively, you could take a document, drop it on the

     8   find tool, and make a backup or archival copy of it in

     9   another repository.

    10        Q    Okay.     So if I had a large stack or stream of

    11   these documents, and I say:     Okay, I want to -- from a

    12   date backward, I want to archive those and automatically

    13   archive them, I could do this through this process?

    14        A    Sure.

    15        Q    Okay.     So Workscape, in that timeframe in 1994

    16   and earlier in these publications, the patent and the

    17   articles, could do automatic archiving, right?

    18        A    Yes.

    19        Q    All right.     And -- and was the Workscape

    20   project well known?     I mean, was it -- did you receive

    21   any accolades or press or commentary about it?

    22        A    Well, after we published it at the CHI

    23   conference, it was cited in a number of -- of other

    24   important papers.

    25             And one particular one that comes to mind was
Case 16:08-cv-00088-LED
         a group at Xerox Document
                           PARC, which
                                    422was  a very
                                         Filed     famousPage
                                               10/20/10   research
                                                              107 of 117 PageID #: 38930
     2   lab at the time, cited Workscape and described it as the

     3   first example of -- of a three-dimensional interface

     4   under -- under direct user control.

     5             So we were kind of proud of that.

     6        Q    And it -- and it had time-ordered sequences

     7   and chronological ordering of all those documents in

     8   that system?

     9        A    Yes.

    10        Q    Okay.

    11                     MR. SOOBERT:     Pass the witness.

    12                     THE COURT:     All right.

    13                     Cross-examination.

    14                         CROSS-EXAMINATION

    15   BY MR. STEIN:

    16        Q    Good morning, Dr. Lucas.

    17        A    Good morning.

    18        Q    You mentioned earlier that -- in response to

    19   Mr. Soobert's questions, that it was possible to do

    20   various things in Workscape.        Workscape was a general

    21   scripting tool, correct?

    22        A    It was a visualization tool.        It contained a

    23   scripting component.

    24        Q    And it was possible to do all sorts of things

    25   with that visual -- visualization tool, correct?
Case 16:08-cv-00088-LED
               A   Yes. Some were 422
                        Document  easier  than
                                       Filed   others. Page 108 of 117 PageID #: 38931
                                             10/20/10
     2        Q      It was meant to be general so that people

     3   could take it and, you know, creatively figure out what

     4   they wanted to -- what functionality they wanted and use

     5   the system to create that display and functionality,

     6   right?

     7        A      I think a better way to say it is that it was

     8   extensible; that is, it did -- had -- had a core vision,

     9   this -- this arranging documents in three-dimensional

    10   space, according to various criteria.

    11               But we -- we were -- we knew that we didn't

    12   think of everything that the user would want to do, so

    13   we made it -- made it as easy as possible for the users

    14   to modify the -- the -- the system for their own

    15   purposes.

    16        Q      So just because the tool was capable of

    17   creating something doesn't mean that anybody actually

    18   used the tool to create that thing, correct?

    19        A      I guess that statement's true.

    20        Q      And that was part of the purpose of the tool,

    21   is to enable people to make different things.

    22        A      If you're asking if there are -- if there are

    23   things that the tool could do that no one has ever done,

    24   the answer is yes.

    25        Q      So when Mr. Soobert asked you if the cool
Case 16:08-cv-00088-LED
         could do this andDocument
                           the tool422
                                    could  do 10/20/10
                                        Filed -- Workscape
                                                       Pagecould
                                                            109 of 117 PageID #: 38932
     2   do this and Workscape could do that, it doesn't

     3   necessarily mean that someone actually did those things

     4   with Workscape, correct?

     5           A   Not necessarily, but it's fair to say that

     6   there were certain uses that were very central to the

     7   core vision of Workscape, and so very likely, it would

     8   have been used.    And many of them we did in our

     9   demonstrations.

    10           Q   You were contacted earlier in the year by

    11   Apple, correct?

    12           A   Yes.

    13           Q   And they asked for your help in this case,

    14   right?

    15           A   Correct.

    16           Q   And Apple's paying you to help them in this

    17   case?

    18           A   They're paying my company, my normal

    19   consulting rate.

    20           Q   And what --

    21           A   It's not going directly to me.

    22           Q   And what is that rate?

    23           A   I, frankly, don't know.

    24           Q   Is it hundreds of dollars an hour?

    25           A   Hundreds of dollars an hour, yes.
Case 16:08-cv-00088-LED
               Q   And youDocument
                           were aware,
                                   422 when
                                        Filedthey contacted
                                              10/20/10 Page you,
                                                            110 of 117 PageID #: 38933
     2   weren't you, that Apple was seeking to invalidate

     3   Dr. Gelernter's patents, right?

     4        A      I became aware of it in the course of the

     5   conversation.

     6        Q      Now, isn't it true that in Workscape, that the

     7   document you see on the screen is in some ways the

     8   actual document?

     9        A      Well, technically, it's a proxy for the

    10   document.    The thing on the screen is just a picture.

    11   The document itself is in the repository.

    12        Q      That it's -- it's basically -- if it was a

    13   Word document, it would be basically Word -- Word would

    14   be opened in that little proxy; and if you brought it

    15   up, you would see the document in Word, you know, to

    16   give an example; is that right?

    17        A      Not necessarily.   That would be one way you

    18   could implement it, but you could also interpret the

    19   Word file yourself and render it -- and Workscape could

    20   render it on its own.    That's really an implementation

    21   detail.

    22               But -- but our goal -- and I want to make this

    23   clear.    Our goal was to keep those details as far from

    24   the user's mind as possible.     We wanted the user to

    25   think of that document as if it was -- as if it was the
Case 16:08-cv-00088-LED
         real -- the real Document
                           document.422 Filed 10/20/10 Page 111 of 117 PageID #: 38934

     2                So if that's what you mean, the answer is yes.

     3        Q       And a document only appeared once in a

     4   Workscape viewer; is -- isn't that right?

     5        A       Within a single workspace, that's correct, but

     6   it was possible to have more than one workspace open at

     7   the same time.     So -- so it's yes and no.

     8        Q       So within that one Workscape, it would --

     9   Workscape wouldn't have the document and then another

    10   visual representation of that same document, would it?

    11        A       Not in the same window, but in separate

    12   windows, it could.

    13        Q       And one of the possibilities that Mr. Soobert

    14   mentioned for Workscape was doing some type of

    15   archiving.     That wasn't described in any of your

    16   publications, was it?

    17        A       Well, certainly, I -- the -- the feature that

    18   permitted you to connect simultaneously to multiple

    19   repositories was -- was very key, and we talked about

    20   that -- that very, very frequently, whether -- and --

    21   and to me, I'm not sure what you mean by the term

    22   archiving; but if it means moving an instance of a

    23   document from one repository to another, then, yeah, I

    24   think it was.

    25        Q       When customers -- typically, users have an
Case 16:08-cv-00088-LED
         archiving tool where they're
                         Document  422just  backing
                                        Filed        up files
                                              10/20/10        on a,
                                                        Page 112 of 117 PageID #: 38935
     2   you know, personal computer.     That's not the type of

     3   thing you were just talking about there, is it?

     4        A    I'm not sure I see what the difference is.

     5   And sometimes I think this is a kind of a philosophical

     6   question, because -- and I don't mean to be repetitive,

     7   but we really wanted to let our users -- to stop

     8   thinking about all this nonsense about the machinery of

     9   how the computer works and to just let them deal with

    10   their documents.

    11             But this function was the same.     It was -- if

    12   you want -- the reason you would want to move something

    13   from one repository to another would be presumably

    14   because you think it's safer that way, and you wanted to

    15   make a backup.

    16             So I'm not sure what distinction you're --

    17        Q    There -- there was nothing described in those

    18   papers as an archiving tool in that sentence, right?

    19        A    I -- we probably did not use that word.

    20                    MR. STEIN:   James, could you put up

    21   PTX437?

    22        Q    (By Mr. Stein) That's a copy of the patent

    23   that Mr. Soobert showed you earlier, right?

    24        A    Yes, it is.

    25        Q    And -- and that's a patent relating to your
Case 16:08-cv-00088-LED
         work on Workscape; is that422
                         Document   right?
                                        Filed 10/20/10 Page 113 of 117 PageID #: 38936
     2           A   Correct.

     3                       MR. STEIN:   And could you go to Figure 5

     4   of that patent?       It's probably down a few pages.

     5           Q   (By Mr. Stein) Now, up in the top, there's

     6   something called a corkscrew pile.        Do you see that?

     7           A   Yes.

     8           Q   Okay.

     9                       MR. STEIN:   James, could you show

    10   PTX1812?    And could you go to -- before you go there --

    11           Q   (By Mr. Stein) Up in the corner, that's --

    12   that's another one of your patents, right, even though

    13   your name is misspelled, correct?

    14           A   Yes, it is.

    15           Q   And it's another patent on your Workscape

    16   work?

    17           A   Yes.

    18                       MR. STEIN:   James, can you go to Figure 5

    19   of this patent?

    20           Q   (By Mr. Stein) And it has that same Figure 5.

    21   See that?

    22           A   Yes.

    23           Q   In fact, all the figures -- I don't know if

    24   you remember these patents, but all the figures in this

    25   patent are the same as the figures in the '330 patent.
Case 16:08-cv-00088-LED
                   They basically
                         Documenthave
                                  422 the  same
                                       Filed    writtenPage 114 of 117 PageID #: 38937
                                             10/20/10
     2   description.          Do you recall that?     Do you recall filing

     3   patents with the same written description?

     4           A      I -- this was many years ago.         I don't

     5   remember the details.          Certainly, a lot of the

     6   background text is the same, because it's describing the

     7   same underlying system.             But the patents, as I

     8   understand it, describe different aspects -- protect

     9   different aspects of -- of -- of the system.

    10           Q      It could be possible that the patents have the

    11   same description, but the claims at the end were

    12   different, right?

    13           A      The extent I understand patent law, yes.

    14           Q      Okay.

    15                          MR. STEIN:     James, could you put up

    16   PTX11?

    17                          Well, actually, if you would go back to

    18   that one for one second.

    19           Q      (By Mr. Stein) So with this patent, you know,

    20   the patent number is in the upper right.              It ends in

    21   '134.       Do you see that?

    22           A      Yes.

    23                          MR. STEIN:     Okay, James.   Could you go to

    24   PTX11?       And could you blow up like the top half?

    25           Q      (By Mr. Stein) And do you see that the patent
Case 16:08-cv-00088-LED
         sort of in the middle -- oh,
                         Document  422byFiled
                                         the 10/20/10
                                              way, this Page
                                                         is the
                                                             115 of 117 PageID #: 38938
     2   '427 patent.        It's one of Dr. Gelernter's patents that

     3   are at issue in this case.

     4                Do you see in the middle of the column on the

     5   right, the patent that's highlighted there?

     6        A       Yes.

     7        Q       And that, actually, is a patent number of the

     8   one we were just looking at.           And you see it's cited on

     9   the face of Dr. Gelernter's patent, right?

    10        A       I can't keep these numbers in my head, but I

    11   assume so.

    12        Q       And that means the Patent Office considered

    13   that patent in granting Dr. Gelernter's patent, right?

    14        A       I really have no expertise in how the Patent

    15   Office works.

    16        Q       Okay.

    17                        MR. STEIN:     No further questions.

    18                        THE COURT:     All right.    Redirect?

    19                        MR. SOOBERT:     Just one brief question,

    20   Your Honor.

    21                           REDIRECT EXAMINATION

    22   BY MR. SOOBERT:

    23        Q       Mr. Stein just showed you a patent at issue in

    24   the case citing one of your patents.             You had a number

    25   of other articles and publications that were presented
Case 16:08-cv-00088-LED
         well before that Document
                           patent and allFiled
                                    422   the 10/20/10
                                               patents atPage
                                                          issue
                                                              116 of 117 PageID #: 38939
     2   here were filed, right?

     3           A   Yes.

     4           Q   Okay.     And none of those were cited or

     5   considered by the Patent Office by anything you saw from

     6   Mr. Stein; is that right?

     7           A   As far as I know.

     8                       MR. SOOBERT:     Nothing further.

     9                       THE COURT:     All right.   Thank you.

    10                       All right.     You may step down.

    11                       All right, Ladies and Gentlemen of the

    12   Jury, we're going to take our noon recess at this time.

    13   We're going to be in recess until 12:30.           I think the

    14   parties have arranged some good sandwiches for you in

    15   there.

    16                       So enjoy your lunch break.      Please

    17   remember my instructions, and we'll reconvene at 12:30.

    18                       We'll be in recess.

    19                       COURT SECURITY OFFICER:      All rise for the

    20   jury.

    21                       (Jury out.)

    22                       (Lunch recess.)

    23

    24

    25
Case 16:08-cv-00088-LED Document
                             CERTIFICATION
                                 422 Filed 10/20/10 Page 117 of 117 PageID #: 38940
    2

    3                  I HEREBY CERTIFY that the foregoing is a

    4   true and correct transcript from the stenographic notes

    5   of the proceedings in the above-entitled matter to the

    6   best of our abilities.

    7

    8

    9   /s/______________________
        SHEA SLOAN, CSR                  Date
   10   Official Court Reporter
        State of Texas No.: 3081
   11   Expiration Date: 12/31/10

   12

   13
        /s/___________________
   14   JUDITH WERLINGER, CSR            Date
        Deputy Official Court Reporter
   15   State of Texas No.: 731
        Expiration Date 12/31/10
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